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ASSESSMENT REPORT

Police of Puerto Rico’s Response to the demonstrations and incidents
involving the May 1%, 2018 (Worker’s Day)

Office of the Federal Monitor to the A greement for
the Sustainable Reform of the Puerto Rico Police
Bureau
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Executive Summary

This is the Federal Monitor’s Report for the Court and the Parties in the Agreement for the
Sustainable Reform of the Puerto Rico Police Bureau (“Agreement”) on the demonstrations
and incidents on May 1%, 2018. The Report assesses the Puerto Rico Police Bureau's
(“PRPB’) response to these events.’

On May 4, 2018, Docket 831 issued by the United States District Court in case Number
3:12-cv-02039 issued an Order authorizing the TCA to assess events and report on findings
as follows: “The Court hereby designates retired United States special agent and TCA
investigator Jose Pujol to conduct an independent evaluation and assessment,
followed by a report, of the May 1 demonstrations. The parties shall fully cooperate
with him and immediately agree as to the evaluation’s methodology. See, e.g., Order
of April 26, 2017, Docket No. 511 at 2, lines 4-7. Signed by Judge Gustavo A. Gelpi
on 5/4/18.” Order of 05/04/2018, Docket #831.

EVIDENCE AND ANALYSIS’ RESULTS

USE OF FORCE:

It is common knowledge that before the Court approved and entered the Agreement as an
Order in 2013, demonstrations and protests ended in violent responses by the PRPB against

the protesters. The United States Department of Justice (‘USDOJ) investigation of 2011

uncovered excessive force and pervasive civil rights and liberties violations during these past

demonstrations.

The Monitor reviewed PRPB’s response to demonstrations that took place in April and May
2017 and concluded that the Reform, even during the capacity building stage, brought very

positive changes in the way the PRPB responded to these situations and events,
notwithstanding some incidental abuses of force and procedural errors.

 

With the implementation of Act 20 of 2017, the former Puerto Rico Police Department (PRPD) is now known as the
Puerto Rico Police Bureau (PRPB).
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Demonstrations May 15, 2018:

On May 15, 2018, the PRPB expected that there were going to be six (6) groups that intended
to march (demonstrate), but it was noticed that one (1) of the groups merged with the others
resulting that finally five (5) were accounted for. It should be noted that four (4) of these five
(5) marches took place in a peaceful and orderly manner.

The demonstration that started at the University of Puerto Rico, hereinafter UPR, marched
Northbound on Ponce de Leon Avenue, where it met with the group of marchers that started
in the vicinity of the Department of Labor (Departamento del Trabajo) building. Both marches
continued until they arrived at the intersection of Ponce de Leon Avenue and Mufioz Rivera
Avenue, where the Liberty building is located at. There, instead of continuing their march to
the public expression platform (set up in consultation with the PRPB) previously located at the
intersection of Roosevelt and Munoz Rivera Avenues, they stopped because there was a thick
line of Police Agents that blocked the Ponce de Leon Avenue. It should be noted that the
evidence examined regarding this specific location reflects many protesters covered their
faces with masks, shirts, and other pieces of clothing. Many of them carried wooden shields
very similar to the ones used by the violent protestors involved in the May 15 of 20172
demonstrations. Some loud detonations were heard? by PRPB officers and were audible in
the video recordings reviewed by IC Jose Pujol. According to PRPB officers interviewed were
cherry bombs used by the protestors to throw against the officers. Video images show the
point in time when the protestors were throwing rocks, solid objects and even using slingshots‘
with projectiles thrown at the officers. Some of objects hit the officers®. The Police used
loudspeakers to order the protesters to quit throwing objects at them and to give dispersal
orders*®.

Interviewed leaders of the group of protesters marching on Ponce de Leon, protesters, and
observers from organizations present at that location claimed that the protesters had the right
to continue marching through Ponce De Leon Avenue and that the Police had violated their
right. The PRPB in turn claimed that the blockade of the Ponce De Leon Avenue was intended
solely to protect the banks’ area that the past May 1*' of 2017 received damages for amounts
totaling almost two million dollars ($2,000,000.00) and that they had the authority to restrict
pass through Ponce de Leon Avenue. They further alleged that they were not impeding the
protesters from their right to manifest their protest, because the protesters had access to the
Stage area of the event via Roosevelt Avenue (that is located nearby and visible from that
location).

 

2 As seen in Telemundo video live coverage at 12:22 PM, 12:23 PM, 12:43 PM, 12:44 PM, 12:45 PM
3 As heard in Telemundo video live coverage at 12:33 PM, CRADIC DVD # 7, Segment 2

4 As seen in CRADIC DVD # 8, Segment 2

5 As seen in Telemundo video live coverage at 12:30 PM, 12:34PM, 12:36 PM, 12:37 PM, 12:43 PM

*As seen in CRADIC DVD #1, Segment # 3 and 4
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After a long wait, the line of Police Agents located near the Liberty building permitted access
to the Ponce de Leon Avenue’ and protesters were able to continue Northbound, until they
encountered another compact line of Police Agents before arriving at the intersection with
Bolivia Street. PRPB Commissioner Henry Escalera claimed that the situation was becoming
too intense (at the Liberty site) and he made a good faith decision and honored the
negotiations the Police made in the field with observers of different organizations. PRPB
Officer #21 explained that the PRPB’s Commissioner decided allowing the manifestation to
pass through the Ponce de Leon Avenue, but they were going to observe their behavior. He
said that as soon as they were allowed to go through, the protesters started to vandalize
property. Approximately eight (8) or nine (9) glass windows were broken at the Liberty building
and some others at the Plaza building)®. At that point in time PRPB Officer #1 decided to
again to block Ponce de Leon Avenue, near the intersection with Bolivia Street, in order to
prevent that more damages could ensue to properties in the area (reviewed video recordings
corroborate a timing and a sequence of events in the movement of Police groups fully
consistent with the explanation provided by PRPB Officer #21.)

At this second blockade, protesters were observed throwing rocks, marbles, liquids that
caused chemical burns against the Police agents there. They were also hitting the Police
agents with sticks. Several Police agents were injured along with some of the protesters. The
evidence shows how several individuals with their faces covered, using wooden shields and
carrying sticks engaged in throwing rocks, pieces of concrete tiles and objects to the Police
for prolonged periods of time. There was an individual (who appears to be Subject “Q”) using
a speaker that was encouraging the protesters, who, after being boxed (encased) in that
location for some time became visibly nervous and impatient. Once this group of well-
organized individuals showed a clear intention to confront the Police, encouraged by the
instructions from their loudspeaker started to push the line of Police Officers, the Police
commenced using chemical agents against the protesters. The Police, despite that this was
one of the findings on the Assessment of May 1%, 2017, ignored the instructions on Section
625 of the General Order, and did not provide any dispersal order this second time, didn’t
inform the protesters of the violations that they were doing and did not inform them that they
were about to use chemical agents against them. The Police, as already stated, acted in
complete disregard of General Order 600, Section 625 and in complete disregard of the
recommendation made in the Assessment Report prepared by IC Pujol related to the May 1°,
2017 events. Notwithstanding the aforesaid, as the action develops, it becomes evident that
the use of force to repel aggression at that point was a reasonable reaction considering there
was a Clear and strong threat of bodily injury against the officers and actual use of force by
the protesters trying to overpower the Police. The individual vociferating on the loudspeaker
encouraged the protesters to increase the level of violent protesters’ actions. Recorded

 

7 As seen in Telemundo video life coverage at 12:27 PM
8 CRADIC DVD #1, Segment 4 shows one broken window, Photograph of the building shows some broken windows
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images show clear signs that this was an organized operation by part of the protesters, not a
product of a random incident®.

One very important matter remains. The videos depict action that reflects the Police had no
intention to allow the protesters to arrive to the Banco Popular area. It defies common sense
why they allowed them to pass by the first blockade made at the Liberty building. From the
strategic viewpoint of avoiding confrontation with a crowd, this action fails to make sense.
While at the Liberty building blockade, the Police had better control of the situation and the
protesters had ample space where, if dispersal orders were given, they could easily disband
encountering less hazardous situations than they had at the second location where the limited
dispersal opportunities and the use of chemical agents created a hectic and dangerous
situation for hundreds of protesters of which, the majority was arguably not violent and did not
represent an immediate danger.

From the viewing of videotapes recorded at the scene, it surfaced that according to a news
reporter from Telemundo, he was told by PRPB Officer #1 that it was the Governor of Puerto
Rico who made the decision of removing the line of Policemen at the Liberty building allowing
the protesters to go through (the reporter repeated this information in three different
occasions) '°. According to the Puerto Rico Police Bureau Commissioner, Mr. Henry Escalera,
it was him who made the decision, which he made “based on good faith.” The protesters and
observers interviewed are of the opinion that this was part of a scheme with the objective of
trapping the protesters there. The fact is that when it comes to protest policing, the Puerto
Rico Police Bureau PRPB is confronted with two very important but sometimes conflicting
goals. On one hand the PRPB has the obligation to preserve public safety and property, but
at the same time they must allow demonstrators their Constitutional Right to free speech to
communicate their messages. Therefore, it is essential for the PRPB to balance these
objectives. The essence of this Assessment is to objectively analyze the decision of the PRPB
to permit the protesters to continue their march along Ponce de Leon Avenue to the location
where the second blockade was organized resulting in a bottleneck type restriction of
movement of several hundred protesters. This area on Ponce De Leon Avenue, in the
segment between Roosevelt Ave. and South of Bolivia Street, has limited exit areas which
are the narrow entrance to Mexico Street or retreating all the way back on Ponce de Leon
Avenue.

 

° Information covered by this complete paragraph is seen in Telemundo video life coverage from 1:00 PM through
2:10 PM and CRADIC video recordings

*°As seen in Telemundo (Channel 2) video life coverage at 12:55 PM, 12:58 PM and 01:18 PM. This information is not
Subject to corroboration and should be considered as “inadmissible hearsay evidence” in any judicial proceeding.
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As previously described, the situation at this second location heated up with the protesters
being incited by the person using the loudspeaker asking them to continue charging toward
the police line with their wooden shields, the throwing of rocks and marbles using slingshots
and the use of skin burning chemical substances. This action resulted in PRPB having to
utilize gas as well as rubber bullets to drive the protesters back after they charged against the
police line. Analyzing how this PRPB tactic compares to best practices utilized by major city
police departments throughout the United States when dealing with crowd control involving
large numbers of protesters, it appears the Puerto Rico Police Bureau, by its actions, had
three (3) objectives during that incident of the protest:
e The intent to prevent demonstrations from interfering with the normal operation of
the Banking area.
e To control and limit access of the protesters marches to sensitive areas which in
prior events were targeted by demonstrators for vandalism.
e To display strength in police numbers and appearance to discourage violence.

The objectives mentioned above are part of the “Command and Control” method of protest
policing developed by the NYPD in the early 2000. Though not every major police department
in the United States employs the “Command and Control” method of protest policing, events
often lead strategy in that direction. The PRPB’s strategy to confine several hundred
protesters to an enclosed area with minimal exit access may well have exacerbated the
situation. The demonstration included passive protesters intermingled with those protesters
who were bound to commit acts of civil unrest. There were many individuals who exercised
their constitutional right to peacefully assemble and speak out for their cause. Unfortunately,
there was another group of individuals who chose to engage in criminal acts, hurling objects
at police. When police used gas to attempt to disperse and push back the demonstrators,
everyone was affected. In addition, according to observers, police failed to announce the
disperse order or warning that less then lethal weapons were about to be deployed. Given
the frenzied situation taking place on Ponce De Leon Ave, the police actions to deploy gas
and other less than lethal weapons were within Bureau policy guidelines except for the failure
to inform the dispersal order. The need to use force would have been significantly
reduced had the police made proper announcements to the protesters and the PRPB
had remained at first line in the vicinity of the Liberty building. The Puerto Rico Police
Bureau will undoubtably have to deal with similar demonstrations in the future. Therefore, it is
of vital importance for the Bureau to constantly reevaluate and assess its strategies on how
to properly deal with demonstrations/protests with an eye towards improving their response
to these events.

The high-ranking members in the staff of the PRPB were asked about their specific knowledge
of the May 1S Operation at Ponce de Leon Avenue regarding the blockade. They pointed out
that the order to open the line in the Liberty Building and let the protesters pass by came
directly from the Commissioner Mr. Henry Escalera. The conversation with these officers
showed a sharp resent with the order that ended in the confrontation that subsequently
took place with the demonstrators. As an example, PRPB Officer #1, the Incident

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Commander, stated that if his boss would not have given him the order to open the line
at the Liberty building, he would not have done it. In the interview with Commissioner Mr.
Henry Escalera, he took responsibility over the order to permit access at the Liberty Building
blockade area to the protesters. None of the officers interviewed could explain the reason for
the change as there was no meeting to discuss how this would affect, both tactically and/or
operationally. Their consensus was that the Commissioner acted in good faith.

It should be noted that hearsay information transpired to the media to the effect that
the order to open the blockade came directly from Fortaleza (the Governor's mansion).
The misinformation was that PRPB Officer #1, the Incident Commander, allegedly
informed journalist Jose Estevez (Telemundo) that it was the Governor who gave the
order to the PRPB Commissioner. The PRPB Commissioner was interviewed and he
discredited the rumor stating that it was his own decision to open the blockade at the
intersection of Ponce de Leon and Roosevelt Avenue to permit the protesters to go
through.

During the course of the assessment, participating high-ranking staff members of the PRPB
provided contradictory accounts regarding the dispersal order. Some informed that dispersal
orders were given before using chemical agents against the protesters while others asserted
they couldn't hear them, and the rest admitted that the orders were not given. The Officers
alleging that the orders were given argue that the sound equipment they used was so weak
that it could not overpower the noise of the manifestation and the orders could not be heard.
The known fact is that when previous dispersal orders were given at the Liberty building area,
they were clearly recorded in the news reporters’ recordings. When confronted with this
Specific fact, the officers claiming a second dispersal order was given alleged that the
equipment they used at the second location, near Bolivia Street, was different and of much
lower quality. It should be further noted that several video recordings for the Bolivia Street
location were reviewed and in none of them the orders can be heard. Not even garbled
sounds that could resemble words on a loudspeaker. Upon considering the totality of the
evidence reviewed along with the testimonies heard and the analysis of electronic evidence
(videos), IC José Pujol must conclude that the dispersal orders at the intersection of Ponce
de Leon and Bolivia Street were not given to the protesters before using chemical agents
against them, in violation of General Order, Section 625 of the General Order. Furthermore,
high-ranking staff members of the PRPB have admitted that the PRPB did not place an agent
behind the protesters in order to listen to and record the dispersal orders as required by
Section 625 of the General Order, Subsections:

II1.B.10: MPPR are responsible for warning demonstrators before force or coercion is used.
IIl.C.3.d.viii: The Incident commander shall not use crowd dispersal techniques without first
making repeated warnings citing the laws violated, requesting dispersal or risking arrest. If
there is a dispersal order from the Court, it shall be read to the demonstrators.

IIl.C.3.d.ix: Use loudspeakers to instruct dispersal and identify exit routes.
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1lI.D.3: Except in extreme circumstances that justify immediate action, PRPB cannot arrest
or use of force first without first given warnings or commands under General Order Section
601.

At this juncture, it is respectfully submitted that many of the errors pointed out as negative
findings in the 2017 Assessment have been repeated again in 2018. Several directives of
General Order 600, Section 625 again were not observed in spite of the fact that there were
previous 2017 findings and recommendations pointing out that on May 1, 2017, no dispersal
orders were given, no advice of use of chemical agents was provided and no advice of the
violations being committed was provided. Additionally, many incidents of abuse of force were
alleged during the interview of participants in the demonstrations, and some of them were
corroborated by IC Jose Pujol reviewing video images and/or photographs, which will be
covered in this report.

REPORTING USE OF FORCE:

The evidence reflected that the reporting and documenting of the use of force by PRPB is
again grossly inadequate. The reporting of the Use of Force by the PRPB consisted of only
four (4) PPR-854 “Use of Force Report” forms. Due to the large number of instances involving
“Use of Force” during May 15, 2018, the reports provided by PRPB fail to comply with General
Order Chapter 600, Section 605, “Reporting and Investigating Use of Force by Members of
the PRPB,” and Section 625 “Crowd Management and Control’. During the Assessment of
the event of May 1%, 2017 this failure to comply with the General Oder was also properly
addressed and reported and recommendations were made. Accordingly, the present failure
to comply with the General Order in the events of May 1%, 2018, is viewed as poorer than the
reporting effort for the 2017 events, which by itself was manifestly inadequate. The review
and analysis of video recordings and PRPB reports reveals that in many instances in which
“Use of Force” was employed, it was not reported or was not properly reported as the General
Order requires. This issue will be the object of additional comments further on in this report.

In spite of the importance and the strict requirement of properly documenting the use of force
by its personnel, the evidence showed that the PRPB did not properly comply with this factor,
hence precluding by those means, to the degree of making it impossibility, to determine if the
force used was within departmental guidelines. The considerations for these determinations
were made by independent means, that is, video evidence, interviews, and available
documentation. Given the discrepancies in the reporting of the number of incidents involving
use of force vis a vis the evidence examined, it is obvious there was incomplete
documentation by the PRPB of these incidents, particularly when force was used. Therefore,
General Order Chapter 600, Sections 605 and 625 were not adhered to.

None of the four (4) prepared PPR-854 forms provide any information about the events and
arrests that happened in Santa Rita, Rio Piedras. Interviews with the PRPB personnel
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involved in the arrests informed about the arrests made there and the use of force employed,
but the four PPR-854 presented to IC Pujol failed to inform about these events. By reading
the four PPR-854 forms provided for inspection, a lay person would never know that
something involving use of force occurred there. This is found to be completely
unacceptable.

The PRPB by not reporting most of the instances of Use of Force failed to comply with Section
625 of the General Order, Subsections:

I1.B.11: Once activity is finished, officers will complete all necessary reports, including Use of
Force reports.

IlI.D.4 & 5. All uses of force must be reported.

Ili.D.5.a. Officers who authorize use of force must complete a report.

Upon concluding this Assessment Report, a copy of the same was provided to
the PRPB pursuant to the Agreement. The PRPB reacted by informing they have
twelve (12) additional Use of Force Reports (UOF)"’. Concerning these additional
twelve UOF reports, the Monitor’s Office will review them by means of the
projected reviews of the Federal Monitor Core Team that are now being
conducted during the compliance phase and adhering to the methodology
agreed by the Parties and my office. CT member, Mr. John Romero, lead UOF CT
Monitor will conduct the evaluation. The undersigned will not review nor
consider the aforesaid forms in this Assessment Report because such
permissive action would send an erroneous message to the PRPB. The PRPB
must assimilate that when a representative of the Federal Monitor, acting
pursuant to an Order of the United States District Court, files a request for
information such request most be strictly complied with. Failure to fully comply
is tantamount to a breach of the Court’s Order under the Agreement that may
carry significant consequences.

ABUSE OF FORCE:

The video recordings and photographs reviewed by IC Pujol revealed at least three clear
incidents in which an excessive use of force was employed:

e The first one is the force employed against Subject “L’”, who allegedly is a street
seller of water and refreshments. Subject “L” informed that at the time the Police
used the chemical agents at Ponce de Leon Avenue, the police were moving
forward in his direction when they encountered and shot him at close range in

 

4. Originally only four (4) Use of Force Reports were provided.
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several occasions. He asserts he offered no resistance and that he was just trying
to leave the area pulling some coolers in which he kept the merchandise he was
selling. The action described is contrary to the mandates of Section 620 of General
Order 600 (Rules and Procedures for the Use of Specialized Weapons by Members
of the Specialized Tactical Units). The photograph of the victim shows at least nine
(9) shots on his back.

 

A SWAT supervisor informed that this type of ammunition is not allowed to be
shot directly against individuals. He confided his belief that the injuries were
caused by plastic balls, not rubber balls that are the ones that the Police uses.
He stated that this type of ammunition could have been used by private security
guards because when the victim was interviewed on TV, he stated that the
agents were wearing gray clothes, not green clothing as SWAT uses. He
Stated believing that, based on the dispersal pattern of the ball injuries shown
in the photograph, the shots had to be fired from approximately ten yards away.

Even in the improbable scenario that the event happened as the SWAT
supervisor suggested, but never actually denied it could have been the PRPB
who made the shots, the PRPB was responsible for the control of the area of
manifestation, and hence failed by not avoiding/preventing a private security
company to engage in an action that was not authorized, because they were
not part of the Operational Plan and they were not part of the PRPB chain of
command.

No PPR Form 854 was provided for this incident of Use of Force.

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e The second incident one was the spraying of chemical agents made by a
SWAT Agent against Subject “K”'?. The evidence shows that this person didn't
represent a threat or a risk to property or the safety of any officer. She only
displayed passive resistance that did not merit aggressive techniques. Section
604 of the General Order states that PRPB agents will avoid the use of pepper
spray at a distance of less than three (3) feet of a person, unless the situation
involves an imminent risk or threat of suffering grave bodily injury, and the use
of the pepper spray is the only reasonable method to control the person and
avoid the damage. According to Section 604, the minimum distance to use the
chemical agent is six (6) feet away from the person, which was not the situation
in this case:

 

 

?2 Names have been substituted by numbers in this Assessment to protect the identity of the individual. Only the
Court will be provided with their names in a separate sealed document.

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No PPR-854 was provided for this Use of Force although it is patently
clear a PRPB officer was involved in the same.

e The third incident depicted in the sequence of photographs below involves
aggressive action taken by PRPB officers against a bona fide member of the
press while attempting to cover an arrest incident with his hand-held camera
equipment. The evidence shows that the Metro newspaper reporter had properly
identified himself and was complying with an agent’s instructions when he was
struck with a baton in his back by another PRPB agent.

No PPR Form 854 was provided for this Use of Force.

Video taken by the reporter's camera:

 

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Just before and after being struck

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USE OF CHEMICAL AGENTS:

The evidence showed that the PRPB completely failed, like it did on the 2017
demonstrations, to adhere to its policies, prior to using chemical agents and less than lethal
ammunition against the protesters, by not providing repetitive information to the protesters via
loud speakers about: 1) the violations they were committing; 2) informing them of the
dispersal order; 3) and informing them about the routes to be taken to leave the area. The
evidence also showed that the PRPB failed by not placing a police officer in civilian clothes in
the back of the protesters to listen'® to the required communications/orders from the police to
the protestors. In sum, the PRPB should have followed the aforesaid mandated procedures
and also had to comply with preparing a video recording of the required compliance with
General Order Chapter 600 Section 625 (Manejo y Control de Multitudes). Such recordings
also require the video documentation of the protesters’ response to police orders and
warnings. It should be noted that these same findings were reported in the 2017 Assessment.
Recommendations for compliance on these issues were provided by IC Jose Pujol, but, no
positive improvement has been substantiated on the part of PRPB.

Subject “M” explained that before the events of the May 15, 2018, he/she met with the PRPB
along with Subject “C” and representatives of the labor unions. On behalf of the PRPB were
present PRPB Officers #1 and #2, and other unnamed officers. They talked mainly about the
march that would depart from the bridge known as “Dos Hermanos” and end in front of the
Capitol building. Subject “M” informed reminding the PRPB Officers that the previous year
they failed by not providing the dispersal orders and following all the steps that Section 625
mandates before making use of chemical agents against a crowd. Allegedly, PRPB Officer
#2 responded that such Section of the General Order “es un disparate” (Spanish for “it is
nonsense”). According to Subject “M’, such statement was made in front of PRPB Officer
#1 and the other Officers.

The evidence shows that PRPB Officer #2 was in a leadership position on May 1%, 2018, at
the point in time when the chemical agents were used against the protesters. The fact that
there was a failure to provide the “Dispersal Orders” along with the other requirements of
Section 625 prior to deploying chemical agents against the protesters gives additional
credence to the information provided by Subject “M” as it relates to how PRPB Officer #2
deals with Section 625, the one he continuously fails to comply with. Failure to follow this
particular regulation deprived the protesters of knowing that chemical agents were going to
be used against them in order to be able to take cautionary measure to disperse before these
were deployed.

Arrests and related Judicial Procedures:

On a document dated May 17, 2018, PRPB Officer #1 informed that during the
Manifestations of May 1%, 2018, nineteen (19) individuals were arrested. The Report

 

13 To provide assurance the dispersal order was heard.
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provides the names of the arrestees, the crime/s they committed and the names of the
Agents that performed the arrests. The crimes listed in the report are: Causing damages
to property, Obstruction of Justice, Grave Aggression, Weapons Law, Arson and Robbery.

Statistics provided by the Office of Court Administration include information up
October 10, 2018, which revealed that only eight (8) of the arrestees have been
charged of any crime.

Out of the eight (8) charged arrestees:

e One (1) of them was cleared of the charges by a Judge, who found “No Cause”
against him in a Rule 6 hearing. No appeal was submitted.

e The other seven (7) arrestees: one (1) has trial scheduled for December 10,
2018, four (4) have preliminary hearings scheduled for November 30, 2018
and the remaining two (2) have a Status Conference scheduled for January
15, 2019.

The fact that only eight (8) of the nineteen (19) arrestees have been charged with any crime
before a Court, and that one (1) of them has already been cleared by a Judge, could create
doubts of if some of the other eleven (11) not charged arrestees could have been arrested
without enough evidence to sustain charges in a Court of Law.

The PRPB provided documentation in relation to only ten (10) of the arrestees, in which all
of them the PRPB Supervisor found that the arrests were made with probable cause. Three
(3) out of the ten (10) arrestees were treated at medical centers for small injuries and
traumas, as informed in the provided documentation.

“PLANES DE TRABAJO” (OPERATIONAL PLANS):

The PRPB provided to the TCA an Operational Plan identified as “PLAN DE TRABAJO, 1 DE
MAYO" (Spanish for “OPERATIONAL PLAN, MAY 18"). This Operational Plan (OP), prepared
by PRPB Officer #1, is addressed to the PRPB Commissioner, and is a general OP which

PRPB Officer #1 complemented with a series of OPs as follows:
e Annex A—SAN JUAN
e Annex B—F.U.R.A.
e Annex C —- PATRULLA DE CARRETERAS (“ROAD PATROL DIVISION”)
e

Annex D — PPR, which consists of several PRPB blank forms that could be used during

the Operation, and additionally provides OPs for the following regions:
e Mayaguez
e Aguadilla

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e Carolina
e Ponce
CRADIC (not a region, it is the video recording Division of the PRPB)

The OP and its Annexes were analyzed by IC Jose Pujol, who found that they lacked most of
the information required by the Section 625, Chapter 600 of the General Order. A detailed
analysis of the provided OPs reflected varying degrees of deficiencies, among them:

e The Operational Plan (ANNEX A — SAN JUAN) prepared by PRPB Officer #2
informed that there were two (2) Command Centers:
1) Command Center located at the Jose Miguel Agrelot Coliseum
2) Operational Center located at the Banco Popular Center building.

During the interview of PRPB Officer #21, information disclosed revealed that they
had two (2) Command Centers and one (1) Observation Post that were located at:
1) near the Jose Miguel Agrelot Coliseum (Command Center)
2) at the FUSION Center (PROB HQ) (Command Center)
3) at the Banco Popular Center building (Observation Post).

PRPB officers interviewed confirmed the Command Post located at the Banco
popular Center only as an Observation Post. It should be noted that at page #3 of
the “Plan de Trabajo Para Manifestacion Grupos Sindicales 1ro de mayo de 2018”
(“Operational Plan for the Manifestation of Labor Unions May 1 of 20182) signed by
PRPB Agent #10, dated April 23, 2018, Agent #10 assigned a Sergeant to be located
at the “Command Post (Edificio Popular Center)”.

TCA Observer #1, who was present at the FUSION Center (PRPB Headquarters)
during the event, assured that there was not any decision making at the FUSION
Center, which in his opinion was not a Command Center, only an Observation
Center.

The TCA’s Office is highly concerned with the misinformation that the FUSION
Center was the Command Center of the Operation. Based on the aforesaid
misinformation the TCA assigned Observer #1 to be present at that location. The
aforementioned misinformation was re submitted during the interview of PRPB
Officer #21 (a high ranking PRPB Officer) who described the Popular Center Building
as an Observation Post. The official PRPB “Plan de Trabajo” (Operational Plan)
defined such location as a “Command Post’ while another Official PRPB “Plan de
Trabajo” (“Operational Plan) portrayed such location as an Operational Center.

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The Operation Plan prepared by PRPB Officer #1 identified the Incident Commander
for the Operation as Officer #1. The part of the Operational Plan prepared by PRPB
Officer #2 identified the Incident Commander for the Operation as PRPB Officer #1.
During the interview of PRPB Officer #1, he identified himself as being the Incident
Commander of the event and stated that during the event he made decisions as the
Incident Commander. At the same time, when interviewed, PRPB Officer #2 stated
that he crafted the Operational Plan and he directed the plan (in the field). TCA
Observer #2, who spent a considerable amount of time in the Milla de Oro scenario,
explained that he spoke to several Police Agents there and all of them acknowledged
that the Incident Commander was PRPB Officer #2. Moreover, TCA Observer #2
observed that PRPB Officer #2 was the Officer acting as Incident Commander at the
Ponce de Leon Ave., the main scenario of the confrontation. The aforementioned
two statements, and the facts learned from observation by TCA Observer #2,
indicate that it is likely that there were two PRPB Officers directing the plan, in other
words, acting as Incident Commanders. This multiplicity of Incident Commanders
can be detrimental for any Law Enforcement Operation. The PRPB must identify
with absolute certainty which officer will be the Incident Commander and plainly
advise that the Operational Plan will be strictly followed.

The General Operational Plan and its Attachments did not point out which part of
the Milla de Oro was off limits for the protesters to march. The OP specifically fails
to explain that the march coming from Ponce de Leon Avenue would not be able to
pass through the intersection of Ponce de Leon and Roosevelt Avenue where the
Liberty building is located. The OP did no state there would be a police blockade at
the intersection of Ponce the Leon Avenue with Roosevelt Avenue to divert
protesters towards the public expression platform placed at the intersection of
Munoz Rivera with Roosevelt Avenue.

The interviews to the Incident Commander (PRPB Officer #1) and PRPB Officer #2
revealed that they had reached several critical decisions related to the Operational
Plan previous to the event, which were not provided for or covered in the official
Operational Plan (“Plan de Trabajo”) of this main event. This defeats one of the
main purposes of making an Operational Plan which is precisely to define all actions
to be taken in each of the areas covered by the plan, impose all officers and enlistees
prior to the event of what is expected and what line of action is predetermined for
each situation. In other words, everyone must be fully cognizant of the Strategy in
place. A good OP provides for a procedure to follow (protocol) in cases of
unexpected situations. It also provides for a meeting prior to the event, the chain of
command for every location. Persons in charge of collecting the evidence at the
different points where confrontations are expected and most important of all, a good

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system of communications to make information flow to the officer in command
(Incident Commander).

TRAINNING

According to the information received from the PRPB, nobody in the PRPB had been trained
on the General Order, Chapter 600, Section 625, titled “Manejo y Control de Multitudes”
(Spanish for “Crowd Management and Control”) when the May 1, 2018 events occurred.

The PRPB informed that they coordinated and worked an external course titled “Field Force
Operations” issued by the Center for Domestic Preparedness of F.E.M.A. which was offered
in the Spanish language. This course included the necessary elements, according to the best
practices, about how to operate in crowd control situations. Personnel from DOT, Arrests and
Extraditions, SWAT and the Auxiliary Superintendence in Education and Training participated
in this Course. They accomplished the certification of sixteen (16) instructors and
approximately two hundred (200) DOT personnel. Additionally to this Course, they were
trained in the REA-111 “Civil and Human Rights” and DOT-603 “Use and Handling of the Rigid
Baton”.

The PRPB alleged that despite there is no personnel at this time directly certified in the General
order Chapter 600 Section 625; the personnel of the DOT, on May 15, 2018, had within their
knowledge and abilities several trainings that qualified them at individual and group level
(Operator in Crowd Management and Control), therefore, made them able to operationally
handle any situation of risk that would be necessary to intervene. This information has been
corroborated by a member of the Federal Monitor team.

ESTABLISHING CONTACT WITH THE EVENTS’ ORGANIZERS:

The evidence showed that the PRPB made some attempts to contact the organizers of the
demonstrations, and that in one instance they did meet with the organizers of one of them.
These attempts and the actual meeting with some of the organizers reflects some improvement
of the PRPB’s performance on this area, comparing to failures found by a prior Assessment
related to events occurred in year 2017.

LEGAL ASSESSMENT:

This Assessment encountered three different claims about a legal issue:

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Interviewed leaders of protesters, protesters, and observers from civic organizations
claimed that the protesters had the right to pass through Ponce De Leon Avenue and
that the Police violated their right.

Section 625 of the General Order, Part Ill.C.2.d states that: “No supervisor shall
interrupt a constitutional activity or demonstration before the demonstrators act illegally
or demonstrate aggressive conduct”, and the evidence (video recordings) shows that
the blockage of the Ponce De Leon Avenue was in place before any illegal or
aggressive conduct was demonstrated.

The Police claimed that the blockage of the Ponce De Leon Avenue was intended
solely to protect the banks’ area that the past May 1*' of 2017 received damages for an
amount near two million dollars ($2,000,000) and that they had the right to restrict the
pass through the avenue because they weren’t impeding the protesters to manifest
their protest, because the protesters had access to the stage area of the event via the
Roosevelt Avenue (that was located nearby and was visible from that point). The PRPB
did not inform when they exactly decided to create the blockage of the Ponce De Leon
Avenue, but it was previous to the event and it was not documented in any of the
reports provided to the Monitor's Office.

Due to the complexity of this legal issue, the TCA authorized IC Jose Pujol to refer this
legal matter to a Counsel who is part of the TCA’s Core Team, Antonio Bazan, Esq. His
Legal Assessment is included as a part of this report as an Appendix.

TCA Reports under the Agreement

Paragraph 227 of the Agreement:

“In order to assess and report on PRPD's implementation of this Agreement and whether
implementation is having the intended beneficial impact on policing and community trust in
Puerto Rico, the TCA shall conduct the reviews specified in this Agreement; shall review
PRPD policies, training material, protocols, and programs developed and implemented
pursuant to this Agreement; and conduct such additional audits, reviews, and assessments
as the TCA or the Parties deem appropriate, or the Court, consistent with this Agreement
and the dismissal order.”

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Paragraph 250 of the Agreement:

“During the first four years, from the Appointment Date, the TCA shall file with the Court;
written public reports every six months that shall include:

a) a description of the work conducted by the TCA;

b) a listing of each detailed step in the Action Plans and its timeframe indicating
whether the timeframe has been met, and whether the Commonwealth of Puerto
Rico is making satisfactory progress toward implementation of the Agreement by
rating PRPD in full, partial, or non-compliance steps in the Action Plan;

c) the methodology and specific findings for each review conducted, where
appropriate, and redacted as necessary for privacy concerns. An un-redacted
version shall be filed under seal with the Court and provided to the Parties. The
underlying data for each audit or review shall not be publicly available, but shall be
retained by the TCA and provided to either or both Parties upon request;

d) for any detailed steps that were reviewed and found not to have been fully
implemented in practice, the TCA’s recommendations regarding necessary steps to
achieve compliance; and

e) a projection of the work to be completed during the upcoming reporting period and
any anticipated challenges or concerns related to implementation of the Agreement.”

Introduction

This is the Technical Compliance Advisor's (“TCA”) Report (“Report”) for the Court and the
Parties in the Agreement for the Sustainable Reform of the Puerto Rico Police Bureau
(“Agreement”) on the demonstrations and incidents on May 1, 2018. The Report assesses
the Puerto Rico Police Bureau’s (“PRPB”) response to these events.

Pursuant to the Court's instructions to assess events and report on findings, Docket 831,
dated May 4, 2018; “The Court hereby designates retired United States special agent
and TCA investigator Jose Pujol to conduct an independent evaluation and
assessment, followed by a report, of the May 1, 2018 (Worker’s Day) demonstrations.
The parties shall fully cooperate with him and immediately agree as to the
evaluation’s methodology. See, e.g., Order of April 26, 2017, Docket No. 511 at 2,
lines 4-7”.

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Given the Court's instructions to assess events and report on findings, the TCA has
assessed the PRPB’s response to the demonstrations and incidents involving the PRPB
protesters on May 1, 2018 (Worker's Day). The focus of the assessment is the PRPB’s
compliance with the “Agreement for the Sustainable Reform of the PRPB” (“Agreement”)
and the Civil Rights of citizens pursuant to the Constitutions of the United States and the
Commonwealth of Puerto Rico with special attention to policies and trainings on policing of
mass demonstrations, command and control, as well as communications and the use of
Information Technology (“IT”).

Under the Agreement, the TCA has the authority to assess and report on whether the
provisions of this Agreement have been implemented resulting in constitutional and
effective policing, increased professionalism, and increased community trust. Under the
supervision and orders of the Court, the TCA conducts its duties including the duty to report
and assess, review policies and trainings, and conduct such additional audits, reviews, and
assessments as the TCA or the Parties deem appropriate, or the Court, consistent with the
Agreement.

This assessment report covers and evaluates actions taken before, during and after the
above described events, regarding the following areas of the Agreement: Supervision and
Management; Equal Protection and Non-discrimination; Use of Force; Crowd Control;
Search and Seizures; Arrests and Citations; Training and its implementation; Community
Engagement and Internal Investigations, Civil Complaints and Discipline section.

This report has been prepared by Investigative Consultant (IC) Jose L Pujol using:

e His Law Enforcement training and experience as a federal Special Agent for
approximately twenty-one years.

e His knowledge as Defensive Tactics Instructor (certified in 1997 by the Federal Law
Enforcement Training Center located in Glynco, Brunswick, Georgia).

e The Agreement for the Sustainable Reform of the Puerto Rico Police Department.
The Puerto Rico Police Department's General Orders.

IC Jose Pujol based on his law enforcement experience, training, knowledge of the
Agreement for the Sustainable Reform of the Puerto Rico Police Department and the
Puerto Rico Police Bureau's General Orders, all the evidence and facts collected during
the Assessment, all the work performed (as described above), the support and advice
received from all the TCA team, formulated findings and recommendations that are fully
described in this Assessment Report and hereby submitted.

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Section I: Crowd Control Policies

|.A Historical Reference: Crowd Control Policies Prior to the
Agreement

Under the Violent Crime Control and Law Enforcement Act of 1994, 42 U.S.C. § 14141 (re-
codified as 34 U.S.C. § 12601) and the anti-discrimination provisions of the Omnibus Crime
Control and Safe Streets Act, 42 U.S.C. § 3789d, in 2008, the United States Department of
Justice (USDOJ) initiated an investigation of an alleged pattern or practice of use of
excessive force, unconstitutional searches, and discriminatory policing by the PRPD. In
September 2011, USDOJ issued a written report with findings that the PRPB engaged in a
pattern of using force to suppress the exercise of First Amendment rights.'4 The following
is a summary of the two main findings of the USDOJ investigation of 2011:

“Officers’ use of excessive force also chills speech in violation of the First
Amendment. While some individuals may engage in unlawful activity during protests
and civil demonstrations, only a fraction of the force used by PRPD is directed at
specific threats or criminal behavior, as evidenced by the dearth of arrests supported
by probable cause. Instead, PRPD officers regularly rely on the indiscriminate use
of force or threat of force well beyond what is necessary to protect public safety
when engaging with crowds. Specifically, PRPD indiscriminately used chemical
agents, batons, and physical force against demonstrators and other individuals on
University Avenue in August 2009, at the Sheraton Hotel in May 2010, and at the
Capitol in June 2010. PRPD officers also used choke holds and pressure techniques
against protestors who were passively resisting or otherwise not posing any
significant threat as recently as December 2010 and January 2011. In February 2011,
officers pushed, struck, and sprayed protestors at a university campus, and officers
threw rocks and other objects at individuals who likewise posed no significant threat.
The use of excessive force by PRPD officers in these instances, along with other
tactics aimed at intimidating demonstrators, has garnered significant public attention
and discouraged residents of Puerto Rico from engaging in protected First
Amendment activities. While we recognize that prolonged strikes and civil
demonstrations strain PRPD personnel and resources, Puerto Rico must not waver
in its duty to uphold the fundamental rights of all residents, even when their
viewpoints or affiliations may be disagreeable.”"®

 

14 Paragraphs 5 and 8 of the Agreement.
15 SDOJ, Investigation of the PRPD: Executive Summary, 2011, page 4.
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And

“PRPD has been on notice for years that officers assigned to tactical units routinely
employ excessive force when interacting with civilians. These units all too frequently
rely on intimidation, fear, and extreme use of force to manage crowds and are often
deployed to low-income and minority communities on routine patrols. These units
operate with insufficient training and guidance on the lawful exercise of police
power.”'6

As a result of the negotiated agreement between the United States and the Commonwealth
of Puerto Rico, the Agreement for the Sustainable Reform of the Puerto Rico Police was

drafted.

During the interviews conducted on 2017 to Officers of the Puerto Rico Police Department,
IC Jose Pujol asked two officers of the PRPB about the PRPB’s rules and/or guides they
followed during crowd control operations before General Order Chapter 600 Section 625
“Manejo y Control de Multitudes” entered into effect. The two officers answered as follows:

e PRPB Officer #2, the San Juan Area Commander on 2017, who during his
approximately twenty three (23) years in the PR Police Department (PRPB)
had worked in dozens of manifestations similar to the ones covered by this
Assessment, explained the following: “before the General Order Chapter 600
Section 625 “Manejo y Control de Multitudes” entered into effect, there wasn’t
any established official protocol; we worked based on experience, which was
obtained by years of working in the streets, and working in similar scenarios”.

e PRPB Officer #23, stated that in the past he was part of the DOT (Tactical
Operations Division) and that during his long career with the PRPB he
participated in large number of manifestations/protests/scenarios like the
ones covered by this assessment. PRPB Officer #23 explained that before
the General Order Chapter 600 Section 625 “Manejo y Control de Multitudes”
entered into effect, there was great disorganization. Before any event, similar
to the ones covered by this assessment, they planned for any possible
scenario. He further added that back then, the guidelines (in the General
Order) weren’t clear for this type of events.

 

*© USDO)J, Investigation of the PRPD: Executive Summary, 2011, page 6.
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|.B Analysis of the Current Policy on Crowd Control Under the
Agreement

Under the Agreement, the PRPB is to develop crowd control and incident management
policies that comply with applicable law and comport with generally accepted policing
practices (Paragraph 32). Paragraphs 33, 34 and 35 of the Agreement expand on this
requirement.

“33. The incident management policy shall provide that a ranking officer or other
higher-level PRPD official at the scene of a mass demonstration, civil disturbance,
or other crowd situation assume command and control and provide approval prior to
deploying force as a crowd dispersal technique.

34. The crowd control policy shall require the use of crowd control techniques and
tactics that respect protected speech and the right to lawful assembly.

35. PRPD policy shall require the assessment of law enforcement activities following
each response to a mass demonstration, civil disturbance, or other crowd situation
to ensure compliance with applicable laws and PRPD policies and procedures.”

The Action Plan on the Use of Force further expanded on the requirements set forth by the
Agreement. In particular, the Action Plan required the PRPB to develop a General Order
on Crowd Control and Incident Management (OG. 600-625) by September 2015.

On January 28, 2016, the PRPB’s Reform Unit met with the TCA and the USDO4J to discuss
written recommendations and comments on the PRPB's “Final Draft” of the Management
and Crowd Control Policy. These comments and recommendations were subsequently
adopted and incorporated into the Policy. The Order was approved on April 19 of 2016. On
April 30, 2017, an Annual Review was conducted on this Policy.

In preparation for this Report, the following areas of the policy were extensively reviewed:

Purpose Section

Definition Section

Policy and Procedure Section
General Disposition Section

This Management and Crowd Control Policy has been instrumental in providing established
guidelines to PRPB personnel in managing crowds and preserving the peace during
demonstrations, constitutional activities and spontaneous disturbances. Police, the most

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visible form of government, must continue to ensure that the First Amendment rights of the
public they serve are protected and guaranteed. However, it should be understood, that in
part, the effectiveness of this Policy will be based on the training component implemented
by the PRPB, as well as strict compliance to the Policy.

This General Order establishes policy and procedures in managing and controlling of
crowds. Because physical force by PRPB may be necessary in some of these instances,
the Order references the following related General Orders:

Chapter 600, Section 601, Rules of Use of Force

Chapter 600, Section 602, Use and Management of Electronic Control! Devices
Chapter 600, Section 603, Use and Management of Impact Weapons

Chapter 600, Section 604, Use and Management of Chemical Agents

Chapter 600, Section 605, Reporting and Investigating Use of Force by PRPB
Members

e Chapter 600, Section 620, Use of Intermediate and Specialized Weapons (less-
than-lethal)

In Puerto Rico, all persons have the right to free speech and assembly guaranteed by the
First Amendment of the Constitution of the United States and the Constitution of Puerto
Rico. A fundamental role of law enforcement is the protection of the rights all people to
peaceably assemble, demonstrate, protest or rally. In turn, law enforcement also has the
responsibility to ensure public safety and to protect the lives and property of all people. The
often-competing goals of maintaining order while protecting the freedoms of speech and
assembly stand as one of law enforcement’s greatest challenges.

Demonstrations throughout the United States, especially in 2017, have clearly put law
enforcement agencies on notice that they have an obligation to prepare their departments
for a proper response to these events. Preparation to address crowd control is best
achieved through policy and training on how to manage crowds while protecting First and
Fourth Amendment rights.

As in all high-liability areas the following is needed:

Knowledge of the legal standards applicable to First Amendment conduct
Effective Information Gathering

Proper Policy Guidance

Detailed Planning

Effective Training

Effective Leadership

Proper Use of Force

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The Policy and Procedures Section A. 1., states that all organizations or groups interested
in having a constitutional activity or demonstration shall notify the PRPB thirty-six (36) hours
in advance of the event. It is well known that this rarely occurs, however it is strongly
suggested that the PRPB, together with the other government agencies mentioned in Law
366, should make all efforts to strictly comply with all its articles including the creation of
the Interagency Committee headed by the Police Commissioner and the creation of all by-
laws required by the Act for crowd safety and control.'”

Subsection D. 1., states: “The use of force is limited to circumstances permitted by General
Order 600, Section 601, entitled ‘Rules for the Use of Force by Members of the Puerto Rico
Police’ (hereinafter, OG-601) and to a reasonable extent necessary in light of the
circumstances faced by the PRPB. However, during a civil disturbance, the PRPB will act
according to the legal instructions given by the Squad Leader, Platoon Leader or the
Incident Commander, as applicable.”

Subsection D. 2., 3., 4. and 5., are strong parts of the Policy and should continue to be
enforced:

e “2. Except in extreme circumstances that warrant immediate action, PRPBs
may not make arrests or use force without making the warnings and
commands as set forth in OG-601 and General Order 615, entitled ‘Puerto
Rico Police Authority to carry out Arrests and Citations’ (hereinafter, OG-
615.)”

e “3. In any individual incident where force has been used, an arrested person
has been injured or allegations of excessive force being used, the PRPB shall
follow the procedure established in General Order 600, Section 605, entitled
‘Report and Investigation of Incidents of Use of Force of Members of the
Police of Puerto Rico’ (hereinafter, OG-605.)”

e “4. Each use of weapons authorized by the PRPB against a person, animal
or crowd constitutes one (1) independent use of force. Therefore, each use
requires detailed justification and explanation on Form PPR-854, entitled ‘Use
of Force Report’ and as set forth in OG-605. Officials authorizing the use of
force to control or manage a disturbance of crowds shall complete a Report.”

e “5. The injured will be treated in accordance with the provisions of OG-605.”

PRPB should embrace collaboration with community stakeholders when planning for and
responding to public assemblies and gatherings. It should be noted that Law 366, Section
8 specifically provides for the creation of a Citizen Information Program to keep citizens
informed of the nature of the activity to be held. This same section further states that “[T]he
Interagency Committee may use the press media or public service slots in the press media

 

”” A copy of Law 366 of 2004 is included and made part of this Assessment and assigned number 1
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as a mechanism to diffuse citizen information programs. To this effect, it should be
understood that the agencies participating in the Interagency Committee shall
undertake initiatives and set aside resources in order to enable compliance with this
provision.” (Emboldened for emphasis)

Community stakeholders may include:

Business associations

Civil right organizations

Labor organizations

Advocacy groups

Leaders of local/state government
Elected officials

Special interest groups
Neighborhood associations
Religious groups/clergy
Schools/colleges/universities

The following training information is available to the PRPB. These following resources are
currently being utilized in the United States for training in management and crowd control:

[ACP National Law Enforcement Policy Center-Civil Disturbances—12/2005
Law Enforcement Guidelines for First Amendment-Protected Events—10/2011
Privacy, Civil Rights and Civil Liberties Policy Development Guide—4/2012
Independent Investigation Occupy Oakland Response—10/2012

The Reynoso Task Force Report-UC Davis November 18, 2012

CA POST Guidelines Crowd Management, Intervention and Control
Ferguson Review—2015

Pursuant to Section 9 of Law 366, “[T]he Puerto Rico Police is hereby empowered to
impose an initial administrative fine of not more and not less than (250) dollars on any
natural or juridical person who fails to comply with the duties established in Section 7 of
this Act. On subsequent occasions, a fine shall be imposed, to be greater than two hundred
fifty (250) dollars, but not greater than five hundred (500) dollars. Provided, further, that
the amount of the fine imposed shall be proportionate to the damages or injuries caused to
the interest legally protected under this Act. i.e. the safety or mobility of the people not
participating in the demonstration and the interest of the Commonwealth in having
demonstrations conducted within reason, stability and safety.”

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The above referenced Section 9 imposes penalties for failure to comply with Section 7 of
Law 366, which imposes duties and responsibilities to “Groups or Persons'®” who intend to
conduct a public impact activity as follows:

“a. To notify within a reasonable period, not to be greater than 36 hours in advance of the
event, the intent to conduct the activity, event or demonstration, subject to the non-
applicability of the exceptions established in this Act; it being understood as an exception
that the preceding restriction shall not apply when the event or situation which motivates
the demonstration arises within the immediacies of the event in question or at a time before
the thirty-six hours that precede the demonstration. In these cases, the duty to notify shall
be performed within a prudent and reasonable period, not to be less than twenty four (24)
hours, so as to allow for the activity to be coordinated with sufficient time in advance in
order to enforce the provisions of this Act.19

b. To provide information on the nature and scope of the activity as to the number of people
expected to attend, time and duration of the activity, activity starting and ending points in
geographic terms, security plans, or other contingency measures. By no means shall said
information include data or aspects regarding strategies, plans, subjects or objectives
devised by the participating person or group; these shall be their exclusive property and
shall not be subject to the duty to notify established in this Act.

c. To cooperate with the agencies concerned in the adoption of contingency and security
measures in order to allow for the orderly and reasonable conduction of the activity being
held, so long as these do not undermine the constitutional right to freedom of speech and
free association to (sic) which protects demonstrating persons and groups

d. To take the corresponding actions in order for the people participating in the
demonstration to abide by the criteria and demands set forth in this Act and by coordination
adopted pursuant thereto so as to allow for its enforcement in an orderly and efficient
manner.

e. To cooperate with the Committee before holding the activity in order to formalize a
coordinated plan to facilitate the conduction of the activity, event, or demonstration without
interfering unreasonably with the stability, mobility or safety of the people or groups not
participating in the activity.”

 

18 In the case of persons or groups that fail to comply with this Section of Law 366, it would probably border in the

realm of the impossible trying to asses which person or group should take responsibility for a failure to inform on the

activity. Most reactionary groups lack an identity by which they could be imposed responsibility. The same applies in

trying to affix responsibility to a person regarding the duty to inform about an activity.

18 The Constitutionality of this Section has not been challenged in the Courts of the Commonwealth of Puerto Rico.
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The PRPB Reform Unit has developed a comprehensive policy, crafted by the PRPB
Reform Unit, that provides PRPB with established guidelines for managing crowds and
preserving the peace during demonstrations and civil disturbances. The development of
this in-depth policy, although not one based on the policy that was supposed to be crafted
by the Interagency Committee pursuant to Law 366, has become sort of an amenable
working substitute that provides detailed protocols and clear guidelines to members of the
PRPB. It should be noted that this is a new Policy and the only prior reference to anything
resembling crowd control was in repealed General Order 2006-6 entitled “Rules and
Procedures to Intervene in Labor Conflicts’ (Oden General 2006-6 Normas y
Procedimientos Para la Intervencion en Conflictos Obrero-Patronales.) It would have been
presumably better if Law 366 had been followed.

Section Il: Training

ll.A Training Received by All PRPD Personnel Regarding Crowd
Control

According to the information received from the PRPB, nobody in the PRPB had been
trained on the General Order, Chapter 600, Section 625, titled “Manejo y Control de
Multitudes” (Spanish for “Crowd Management and Control”) when the May 1, 2018 events
occurred. Nevertheless, the PRPB informed that the DOT personnel that participated
during the May 1%, 2018 events, had within their knowledge and skills the ones learned
after participating in trainings that educated them individually and in groups (Operator in
Management and Control of Crowds), which made them able to operationally handle any
situation of risk in which was necessary for them to intervene.

ll.B Personnel Deployed and Their Crowd Control and Related
Training

IC Jose Pujol requested from the PRPB a list of all members of the PRPB present during
the events of May 1%, 2018, and information of all trainings taken by these Officers/Agents.
The PRPB produced many groups of documents in response to this request. Reviewing
these documents IC Pujol verified that the PRPB provided the requested information about
the trainings taken by approximately two-hundred eighty-seven (287) Officers/Agents. This
number falls quite short from the one thousand two hundred twenty-five (1,225)

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participating members of the PRPB utilized during the operation, according to Form PPR-
174 signed by PRPB Officer #1. The PRPB grossly failed to provide the requested
information.

li.C Number of People and Units Trained Under the Crowd
Management and Control Policy

According to the information received from the PRPB, nobody in the PRPB had been
trained on the General Order, Chapter 600, Section 625, titled “Manejo y Control de
Multitudes” (Spanish for “Crowd Management and Control”) when the May 1, 2018 event
took place.

The PRPB has informed that they coordinated and worked an external course titled “Field
Force Operations” issued by the Center for Domestic Preparedness of F.E.M.A., which was
offered in the Spanish language. This course allegedly included the necessary elements,
according to the best practices, on how to operate in crowd control situations. Personnel
from DOT, Arrests and Extraditions, SWAT and the Auxiliary Superintendence in Education
and Training participated in this Course. They accomplished the certification of sixteen (16)
instructors and approximately two hundred (200) DOT personnel. Additionally, to this
Course, they were trained in the REA-111 “Civil and Human Rights” and DOT-603 “Use
and Handling of the Rigid Baton”. According to the available information, the Incident
Commanders of the May1st Operation were not trained or certified by the FEMA instructors.

The PRPB claims that regardless of the fact that there is no personnel at this time directly
certified in the General order Chapter 600 Section 625; the personnel of the DOT, on May
18 2018, had within their knowledge and abilities several trainings that qualified them, at
individual and group level (Operator in Crowd Management and Control), to handle crowd
control situations and therefore, enabled them to operationally handle any situation of risk
that would be necessary to intervene. The majority of officers that participated in the police
response were not from DOT. Specialized tactical unit officers, not part of DOT, used force
in two of the three problematic incidents discussed in this report and were not trained by
the FEMA instructors.

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Section Ill: Implementation of Crowd
Control Policies and Training Under the
Agreement

PRPB General Order Chapter 600 Section 625 (effective since April 19, 2016) establishes
the rules, procedures and guidelines that the members of the PRPB shall follow to establish
crowd control and preserve the peace during demonstrations, programmed events,
protests, strikes, or to recover the order during and spontaneous disturbance. It also covers
the use of force (including chemical agents like tear gas), training, arrests and reporting
requirements. This section also covers the circumstances under which the PRPB will
activate the specialized units like Operaciones Tacticas (DOT), SWAT units, the Mounted
Police units and the Motorcycle units.

lll. Analysis of specific Operational Plans (OPs) developed by
PRPB for crowd control and mass demonstrations that are the
focus of this study. Findings and Recommendations.

PRPB’s Order Chapter 600 Section 625, III| Rules and Procedures, A. Programmed
Constitutional Activities and Crowd Control, paragraph number 6, establishes how the
PRPB Area Commander will prepare the Operational Plan (“Plan de Trabajo’).

1. On March 15, 2018, an Operational Plan (OP) for the May 1S event, the Worker's
Day, was prepared by the PRPB and signed by PRPB Officer #1, titled “PLAN DE
TRABAJO 1 DE MAYO” (Spanish for “OPERATIONAL PLAN MAY 187”)

o “ATTACHMENT A — SAN JUAN” is an Operational Plan prepared by PRPB
Officer #2 titled “PLAN DE TRABAJO PARA’ ATENDER
MANIFESTACIONES DIA INTERNACIONAL DE LOS TRABAJADORES EN
MILLA DE ORO” (Spanish for “OPERATIONAL PLAN TO MANAGE
MANIFESTATIONS WORKERS’ INTERNATIONAL DAY IN GOLDEN
MILE”).

o “ATTACHMENT B -— F.U.R.A.” is an Operational Plan prepared by PRPB
Officer #3 titled “PLAN DE TRABAJO “PARO GENERAL 1 DE MAYO
(Maritimo, Aereo, Terrestre)” (Spanish for “OPERATIONAL PLAN FOR
“NATIONAL STRIKE MAY 157 (Maritime, Aerial and on Land).

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o “ATTACHMENT C - PATRULLA DE CARRETERAS’ is an Operational Plan
prepared by PRPB Officer #4 titled “PLAN DE TRABAJO PARA ATENDER
“CONTROL Y DIRECCION DEL TRANSITO DURANTE PARO NACIONAL”
(Spanish for “OPERATIONAL PLAN TO MANAGE “TRAFFIC CONTROL
AND DIRECTION DURING NATIONAL STRIKE”.

o “ATTACHMENT D - PPR’ is composed of several blank forms to be utilized
if necessary.

FINDINGS REGARDING May 1, 2018 events, General Plan and Attachments A, B and
C, PRPB Officers #1, 2, 3 and 4):
e The Operational Plan prepared by PRPB Officer #2 informed that there were two
(2) Command Centers:
1) Command Center located at the Jose Miguel Agrelot Coliseum
2) Operational Center located at the Banco Popular Center building.

During his interview, PRPB Officer #21 informed that they had two (2) Command
Centers and one (1) Observation Post that were located at:

1) near the Jose Miguel Agrelot Coliseum (Command Center)

2) at the FUSION Center (PROB HQ) (Command Center)

3) at the Banco Popular Center building (Observation Post).

During the interviews of high-ranking Officers of the PRPB, they described the
Command Post located at the Banco popular Center only as an Observation
Post. However, at page 3 of the “Plan de Trabajo Para Manifestacion Grupos
Sindicales iro. de mayo de 2018” (Spanish for “Operational Plan for the
Manifestation of Labor Unions May 1* of 2018”) signed by PRPB Agent #10 and
dated April 23, 2018, Director of the Explosives Metro Division, PRPB Agent
#10 assigned a Sergeant to be located at the “Command Post (Edificio
Popular Center)”.

TCA Observer #1, who was present at the FUSION Center (PRPB
Headquarters) during the event, stated being sure that there was not any
decision making at the FUSION Center, which in his opinion, “it was never a
Command Center, only an Observation Center.”

It is extremely pertinent to remark that the TCA Office was completely misled
when informed that the FUSION Center was the Command Center of the
Operation. It was for that reason that TCA Observer #1 was assigned to be
present there. Other misleading information was provided during the interview
of PRPB Officer #21 (a high ranking PRPB Officer) who described the Popular
Center Building as an Observation Post, when one Official PRPB “Plan de

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Trabajo” (Operational Plan) stated such location was a “Command Post.”
Another Official PRPB “Plan de Trabajo” (Operational plan) defined such
location as an Operational Center.

The Operation Plan prepared by PRPB Officer #1 informed that the Incident
Commander for the Operation was PRPB Officer #1. The Operational Plan
prepared by PRPB Officer #2 stated the Incident Commander for the Operation
was PRPB Officer #1. During the interview of PRPB Officer #1, he identified
himself as being the Incident Commander of the event, and during the event
made decisions as the Incident Commander. At the same time, when
interviewed, PRPB Officer #2 stated that he made the Operational Plan and he
directed the plan (in the field). These two opposing statements indicate that
there were two PRPB Officers directing the plan in the field, in other words acting
as Incident Commanders. TCA Observer #2, who spent a considerable amount
of time in the Milla de Oro scenario, explained that he spoke to several Police
Agents there and all of them acknowledged that the Incident Commander was
PRPB Officer #2. Moreover, TCA Observer #2 observed that PRPB Officer #2
was the Officer acting as Incident Commander at the Ponce de Leon Ave., the
main scenario of the confrontation. The aforementioned two statements, and the
facts learned from observation by TCA Observer #2, indicate that it is likely that
there were two PRPB Officers directing the plan, in other words, acting as
Incident Commanders. A multiplicity of Incident Commanders can be detrimental
for any Law Enforcement Operation. The PRPB must be more emphatic in
clarifying in their Operational Plans who has the Incident Commander role in the
field.

The General Plan and the Attachments fail to report which parts of the Milla de
Oro were off limits for the protesters to march. More specifically, the OP fails to
explain that the march coming from Ponce de Leon Avenue would not to able to
pass through the intersection of such avenue with the Roosevelt Avenue, where
the Liberty building is located. The OP also fails to explain that a line of Police
Officer would be placed in that intersection to prevent the march to pass through
it and continue marching on Ponce de Leon Avenue.

The interviews of PRPB Officer #1 and Officer #2 revealed that they had worked
several parts of the operational plan and reached several decisions which were
not covered in the official Operational Plan (“Plan de Trabajo”) of the main event.
This action defeats one of the main purposes of making an Operational Plan
which is precisely to define all actions to be taken in each of the areas covered
by the plan, impose all officers and enlistees prior to the event of what is expected
and what line of action is predetermined for each situation. In other words,

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everyone must be fully cognizant of the strategy in place. A good OP provides
for a procedure to follow (protocol) in cases of unexpected situations. It also
provides for a meeting prior to the event, the chain of command for every
location. Persons in charge of collecting the evidence at the different points
where confrontations are expected and most important of all, a good system of
communications to make information flow to the officer in command (Incident
Commander).

e In the general Plan, Paragraph “IX. DISPOSICIONES ESPECIALES’” (IX.
SPECIAL DISPOSITIONS), the OP establishes the Sections of the General
Order that apply to it: 601, 602,603, 607, 609, 610, 612, 615, 617, 618 and 623.
The OP fails to inform that Section 625 “MANEJO Y CONTROL DE
MULTITUDES?’ (Spanish for “Crowd Management and Control”), applies as one
of the main Sections to events like this one.

e Attachment “B”, the OP for FURA also fails to inform that Section 625 “MANEJO
Y CONTROL DE MULTITUDES” (Spanish for “Crowd Management and
Control”), applies as one of the main Sections to events like this one.

e The OPs did not provide any information related to any attempt made by the Area
Commander or his/her representative to establish contact and communication
with the event/protesters/organizers.

e The OPs failed to include information regarding the previous experience with this
type of Constitutional activity or manifestation and with the leaders of the groups
as well as the results of the auto-evaluations made by the PRPB (paragraph no.
6, section c).

e The OPs failed to inform about the expected number of participants or convoked
individuals (paragraph #6 section d).

e The OP failed to inform if copies of any documents informing about the activity
had been presented. It should be noted that paragraph no. 6 section (e) makes
reference to “the required permits had been requested and/or delivered” but this
is an error. Constitutional activities involving free speech cannot be subjected
to, limited or conditioned to the granting of a permit.

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e The OPs failed to inform if the event coincides with other large activities/events
like for example, sports events, religious or labor events (paragraph #6 section

f).

e The OPs failed to inform if they expected groups in opposition or support to the
event (paragraph #6 section g).

e The OPs failed to inform about a designated zone to provide first aid in case of
being necessary (paragraph #6 section p ii).

e The OPs failed to identify the places where they would place legible and visible
signs informing about the event's entry and exit, and the places assigned for the
participants (paragraph #6 section r).

e The OPs failed to include an intelligence section that would prompt the
commander to identify external variables to consider when formulating
operational tactics and rules of engagement.

2. An Operational Pian was prepared by PRPB Officer #5, from the Mayaguez Area,
tiled “PLAN PARA ATENDER MANIFESTACIONES (PARO GENERAL) EN
INSTITUCIONES GUBERNAMENTALES Y CORPORACIONES PUBLICAS”
(Spanish for “OPERATIONAL PLAN TO MANAGE MANIFESTATIONS (GENERAL
STRIKE) INGOVERNMENT INSTITUTIONS AND PUBLIC CORPORATIONS””.
This plan was prepared as a contingency plan for any possible manifestation/protest
that could develop that day, but without having any specific knowledge of the
existence of any planned protest. Notwithstanding the aforesaid, the approved plan
failed to comply with several of the requirements established in PRPB Order Chapter
600 Section 625, Section Ill Rules and Procedures, Part A. Programmed
Constitutional Activities and Crowd Control, paragraph number 6:

FINDINGS (May 1° events, Mayaguez area, PRPB Officer #5):

e The OP failed to inform the previous experiences with this type of Constitutional
activities or manifestations and with the leaders of the groups and the result of
the auto-evaluations made by the PRPB (paragraph #6 section c).

e The OP failed to inform if copies of any documents informing about the activity
had been presented. It should be noted that paragraph no. 6 section (e) makes
reference to “the required permits had been requested and/or delivered” but this

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is an error. Constitutional activities involving free speech cannot be subjected
to, limited or conditioned to the granting of a permit.

e The OP failed to inform if the event, should it occur, coincides with other large
activities/events like for example, sports events, religious or labor events
(paragraph #6 section f).

3. An Operational Plan prepared by PRPB Officer #6, from the Aguadilla Area, titled

“PLAN DE TRABAJO PARA ATENDER PARO NACIONAL” (Spanish for
“OPERATIONAL PLAN TO MANAGE NATIONAL STRIKE’).
This contingency plan is prepared to be used in the eventuality of a possible
manifestation/protest should it occur during that day, but without having any specific
knowledge of the existence of any planned protest. Anyway, the approved plan
failed in comply with several of the requirements established in PRPB Order Chapter
600 Section 625, II] Rules and Procedures, A. Programmed Constitutional Activities
and Crowd Control, paragraph number 6:

FINDINGS (May 1° events, Aquadilla area, PRPB Officer #6):

e The OP failed to inform the previous experiences with this type of Constitutional
activities or manifestations and with the leaders of the groups and the result of
the auto-evaluations made by the PRPB (paragraph #6 section c).

e The OP failed to inform if copies of any documents informing about the activity
had been presented. It should be noted that paragraph no. 6 section (e) makes
reference to “the required permits had been requested and/or delivered” but this
is an error. Constitutional activities involving free speech cannot be subjected
to, limited or conditioned to the granting of a permit.

e The OP failed to inform if the event, should it occur, coincides with other large
activities/events like for example, sports events, religious or labor events
(paragraph #6 section f).

4. An Operational Plan prepared by PRPB Officer #7, from the Ponce Area, titled
“PLAN DE TRABAJO PARA ATENDER POSIBLES MANIFESTACIONES 1 DE
MAYO DE 2018 AREA DE PONCE” (Spanish for “OPERATIONAL PLAN TO
MANAGE POSIBLE MANIFESTATIONS MAY 1812018 PONCE AREA’)

This plan is prepared in the prevention of any possible manifestation/protest should
it occur during such day, but without having any specific knowledge of the existence

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of any planned protest. The approved plan failed to comply with several of the
requirements established in PRPB Order Chapter 600 Section 625, IIl., A. 6:

FINDINGS (May 1* events, Ponce area, PRPB Officer #7):

e The OP failed to inform the previous experiences with this type of Constitutional
activities or manifestations and with the leaders of the groups and the result of
the auto-evaluations made by the PRPB (paragraph #6 section c).

e The OP failed to inform if copies of any documents informing about the activity
had been presented. It should be noted that paragraph no. 6 section (e) makes
reference to “the required permits had been requested and/or delivered” but this
is an error. Constitutional activities involving free speech cannot be subjected
to, limited or conditioned to the granting of a permit.

e The OP failed to inform if the event, should it occur, coincides with other large
activities/events like for example, sports events, religious or labor events
(paragraph #6 section f).

5. An Operational Plan prepared by PRPB Officer #8, from the Centro Recopilacion,
Analisis y Diseminacion de inteligencia Criminal (CRADIC) (Spanish for Center for
Compilation, Analysis and Dissemination of Criminal Intelligence (CRADIC)).

This plan is specifically prepared to establish the Rules and Procedures for Video
Recordings during Crowded Events.

This plan fails only by not providing the type of video cameras that were to be used
during the event. The plan establishes that 13 (thirteen) video cameras will be used,
but it doesn’t provide any additional information.

This plan failed to outline the chain of custody for the video recordings. In addition,
failed to provide direct accountability of which officer was responsible for what area.

OTHER FINDINGS AND RECOMMENDATIONS SUBMITTED:

The above referenced Operational Plans lacked important information and details that,
despite not being required by the General Order, should be considered for incorporation to
the General Order:

e The Operation Plans should clearly identify who the Incident Commander (IC) for
an Operation is and comply with this in the field. In spite of the fact that the OP
was prepared by PRPB Officers #1 and #2 and the same informed the IC as

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being PRPB Officer #1, during the field operations both Officers acted as and
assumed being the IC.

e The Operational Plans should clearly identify where the Command Center is
located at and who is responsible for its execution. Additionally, the OPs should
clearly specify the ways of communication with the Command Center and identify
the personnel who will be the point of contact in there.

e The OPs lacked detailed explanation of the arrest procedures to be undertaken
in mass arrests situations. It is submitted that such OPs must provide for a
situation in the foreseeable event that a large number of persons could be
arrested and separated from the crowd to be controlled in extraordinary
circumstances. Notwithstanding the aforesaid, it should be noted that such
procedures were in place (as the video recordings reviewed by IC Jose Pujol
show) although not written in the OPs.

e The OPs did not provide a description of the equipment to be used during crowd
control events. Reference is only made to the vehicles and to the personnel
assigned equipment. It is submitted that the PRPB should go into detail about
which personnel is assigned what equipment. OPs should also provide detailed
information of all equipment that the SWAT and DOT units will have available for
use, i.e., the agent’s personal assigned equipment, the equipment to be used
with chemical agents, the identification and inventory of all available chemical
agents, the amount and identification of all other available less than lethal
weapons and ammunitions. It is strongly submitted that the OPs should contain
a certification that chemical agents distributed to the SWAT units are not expired.

e The majority of the OPs do not provide for “anticipated scenarios” and how to
react in the event of any of them develops into a threatening event. It is also
advised that the PRPB should engage in contingency planning regarding
foreseeable aggressive/violent scenarios and provide alternate methods of
engagement. The rules of engagement should be outlined in the operational
plan.

e The OPs contain a paragraph entitled General Dispositions (DISPOSICIONES
GENERALES) which details the Chapters and Sections (Capitulos y Secciones)
that apply to the operation. This notice assumes any participant in the operation
knows and is able to remember every disposition enumerated therein. It is
submitted that the OPs should provide more detailed information referencing
rules and regulations for the Use of Force in Major Crowd Situations that could

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apply to the specific operation, with specificity on the authority of the Incident
Commander to deployment chemical agents and impact ammunitions, and how
to document and report the use of them.

e The OPs do not provide information on how to deal with contingent situations like
for example; explaining in detail how to react if individuals invade and/or damage
public properties or set fires, or take hold of public roadways not included in the
original planned marches, etc. It is submitted that the OPs should cover
contingency plans for viable scenarios in the event that they become a threat to
citizens, property or the policemen.

e The OPs do not provide a protocol to deal with the Media representatives,
provide for their safety and allow them to conduct their right to cover the events.
It is suggested that the OPs should direct the Incident Commanders to remind
the PRPB agents the following: “The Media has a right to cover
demonstrations/protests, including the right to record the event on video, film or
in photographs. The Media should be permitted to observe and should be
permitted access close enough to the event. Even after a dispersal order has
been given, clearly identified Media should be permitted to carry out their
professional duties in any area, unless their presence would unduly interfere with
the enforcement action or place them at great risk. The Media should be
permitted to observe and shall be permitted access close enough to arrestees, if
any, to record their names. The Media and Legal Observers should never be
targeted for dispersal or enforcement action because of their status unless their
lives are threatened. The PRPB should imbed media as a practice to enhance
transparency in future events.

Section 625 of the General Order, Subsection Ill.1.2 provides the following:
Members of the press may participate and record. If an activity becomes a civil
disturbance, the Cl may designate a space for the press.

lll.B Analysis of Strategy and Tactics During the Event

The analysis of the events of May 1, 2018 revealed the following:

The demonstration that started at the UPR and marched Northbound on Ponce de Leon
Avenue, met with the group that started its march near the Department of Labor building
(Departamento del Trabajo). Both marches continued until arriving at the intersection of
Ponce de Leon with Mufioz Rivera Avenue, where the Liberty building is located at (the PRPB
did not report whether the two marches were led by the same representatives or separate
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ones). There, they had to stop because there was a thick line of Police Agents that blocked
the Ponce de Leon Avenue. Video images show when the protesters threw rocks and other
objects to the Police. The video images show many protesters covered their faces with
masks, shirts, and other pieces of clothing. Many of them carried wooden shields identical to
the ones used by the violent protesters in the May 1% of 2017. Minor explosion like sounds
were heard that when members of the PRPB were interviewed claimed those were cherry
bombs used by the protesters against them. Some objects thrown against the Police got to
hit the agents. The Police made use of the loudspeakers to warn and ask the protesters not
to throw objects at them and to convey dispersal orders.

Upon being interviewed, group leaders of protesters, protesters, and observers from civic
organizations claimed that the protesters had the right to march through Ponce De Leon
Avenue and that the Police had violated their right. The Police claimed that the barrier at
Ponce De Leon Avenue was intended solely to protect the banks’ area that in the past
Worker's Day celebration of May 1, 2017 was vandalized with damages ascending to almost
two million dollars ($2,000,000). They further maintained that they had the right to restrict
entrance because they weren't keeping the protesters from conducting their protest because
access to the stage area of the event was provided via Roosevelt Avenue. The decision of
blocking the access to the Ponce de Leon near to the Liberty building was made previous to
the event by the Incident Commander and other high-ranking members of the PRPB.

After a prolonged span of time, Police Agents permitted access to Ponce de Leon Avenue
and the protesters were able to continue until they arrived at another Police barrier close to
the intersection with Bolivia Street. PRPB Commissioner Henry Escalera, upon interview,
claimed that the situation was getting intense at the Liberty Building location and he made a
“good faith decision2°” and honored the negotiations the Police in the field had made with
observers of different organizations. PRPB Officer #21, upon being interviewed, explained
that the PRPB Commissioner decided allowing the protesters to go through the Ponce de
Leon Avenue, but they intended to continue observing their behavior. He said that as soon as
they were allowed to continue their march, protesters started to vandalize properties. Eight
(8) or nine (9) glass windows were destroyed at the Liberty building and others at the Plaza
building. He further stated that it was then that PRPB Officer #1 decided to block Ponce de
Leon Avenue, near Bolivia Street to prevent additional damages to other properties in the
area. Reviewed video recordings show a viable timing consistent with the movement of Police
personnel in the area and the explanation provided by PRPB Officer #21.

While at this second barrier, protesters threw rocks, used slingshots to hurl marbles and threw
skin burning chemical substances against the Police agents. They also assaulted Police

 

?° This is yet another member of the PRPB that assumes responsibility for permitting the protesters to continue
marching through Ponce de Leon Avenue.
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agents with sticks. This mélée resulted in several Police agents injured along with some
protesters. Video images depict various individuals with their faces covered, armed with
homemade shields and wood sticks engaged in throwing rocks and hurling assorted objects
at the Police for sustained periods of time. An individual using a loudspeaker was observed
inciting and rousing the protesters to maintain their violent deportment. The extended
confrontation at that location made both sides visibly tense and impatient. At certain point in
time the organized group of protesters started to push their way into the line of Police Officers
and the Police in turn reacted using chemical agents against the protesters. The use of force
by the Police at that point comes as a reaction to repeal intense use of force by the mass of
protesters trying to overpower and break through the Police barrier incited by the agitator
using the loudspeaker (video recordings reflect how the violence and the organization of the
violent protesters was progressively developing, which gave enough time to the PRPB to
announce the dispersal order and warning that less then lethal weapons were about to be
deployed).

Recorded video images portray an organized operation on the part of the protesters. Those
images by no means reflect the occurrence of a casual encounter product of a random
situation.

Findings:

The sudden change of strategy consisting of lifting the barrier at the Liberty building area
(giving full credence to the explanation by the PRPB that it was done in a good faith), to rapidly
re-establish a second barrier at the Ponce de Leon Ave. near the intersection with Bolivia
Street, had the effect of confining several hundred protesters in an enclosed area with reduced
exit access. This may well have contributed to aggravate the situation. It is assumed the
demonstration included passive protesters intermingled with those protesters who were
bound to commit acts of civil unrest. There were many individuals who exercised their
constitutional right to peaceably assemble and speak out for their cause; however, it appears
that instead of continuing to the platform at Munoz Rivera intersection, they chose to join the
protesters intending to continue their march through Ponce de Leon Avenue. Unfortunately,
there was a large group of individuals who chose to engage in criminal acts, hurling objects
at police. At the time the Police used gas to disperse and push back the demonstrators, all
were affected. As previously mentioned, the police failed to announce at the second barrier
the dispersal order or warning that less then lethal weapons were about to be deployed, which
negatively affected the passive protesters and reporters that were exercising their right to
protest or to exercise their duty as reporters. Video recordings reflect how the violence and
the organization of the violent protesters was progressively developing, which gave enough
time to the PRPB to announce the dispersal order and warning that less then lethal weapons

were about to be deployed.
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The sudden change of strategy appears to be an improvisation not intended as a scenario
considered when the PRPB planned their strategy of creating the blockage at the Liberty
building. Additionally, and as stated before, no blockages were part of their Operational Plans.
This fact emphasizes the importance of including all planned strategies in the Operational
Plans and studying and including possible foreseeable scenarios in them. The Operational
Plans provided by PRPB failed to not provide for additional probable scenarios that may be
encountered during the extent of the Operation nor provides a viable strategy to react to them.

Section IV: Analysis of Related and Relevant Policy
Issues Stemming from Policing these Demonstrations:
Use of Force, Search and Seizure, Supervision,
Administrative Complaints, Detention

IV.A Policies and Training Involving these Related and Relevant
Issues

The policies involving these related and relevant issues are the following:

a) The PRPB General Order, Chapter 600, Section 625, titled “Manejo y Control de
Multitudes” (Spanish for “Crowd Management and Control”) is in force since April
19, 2016. It establishes the rules, procedures and guidelines to be utilized by the
PRPB members for crowd control events, covering use of force (including chemical
agents like tear gas), training, arrests and reporting requirements. This section also
covers the circumstances under which the PRPB will activate the Tactical
Operations Division (Operaciones Tacticas DOT) and SWAT units, the Mounted
Police units and the Motorcycie units.

This Section 625 of the Chapter 600 of the General Order, refers and incorporates/adopts
other sections of the Chapter 600 as follows:

b) The PRPB General Order, Chapter 600, Section 620, titled “Normas y
Procedimientos para la Utilizacién de Armas Especializadas por Miembros de las
Divisiones de Tacticas Especializadas (DTE)” (Spanish for “Regulations and
Procedures for the Use of Specialized Weapons by Members of the Specialized
Tactical Divisions (DTE)” (Item #19), establishes the rules, procedures and

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d)

e)

guidelines to be utilized by the PRPB members when utilizing specialized and
intermediate weapons. It establishes that only properly trained and certified
members of the DTE will be allowed the use of the specialized weapons. It also
establishes the guidelines for the authorized use of less than lethal weapons and
ammunitions and under what circumstances they will be authorized to be used and
when its use is proscribed. It also establishes the obligations and responsibilities of
the members of the PRPB forces when using less than lethal weapons and
ammunitions. It includes the required training to use these weapons and
ammunitions and how these weapons and ammunitions will be stored and
transported.

The PRPB General Order, Chapter 600, Section 601, titled “Reglas para el Uso de
la Fuerza por Miembros de la Policia de Puerto Rico” (Spanish for “Rules for the Use
of Force by Members of the Police of Puerto Rico”) (Item #11) establishes the rules
and limits that regulates the use of force by the members of the PRPB. It
establishes: the rules for the use of force, the escalated use of force, the immediate
medical attention needed after force has been used, the duty to intervene to avoid
excessive use of force, the use of lethal force in order to protect human life, the
restrictions on the use of lethal force, the rules for the use of less than lethal force,
reports related to the use of force, monitoring of the use of force and training in the
policies of use of force.

The PRPB General Order, Chapter 600, Section 602, titled “Uso y Manejo del
Dispositivo de Contro/ Electrico” (Spanish for “Use and Operation of the Electric
Control Device”) (Item #12) establishes the rules and procedures for the use,
operation and maintenance of the Electric Control Device (ECD), according to the
policies and practices of the PRPB relating to use of force. It establishes: the rules
applicable to the use of force with the ECD, the procedure for the use of the ECD,
permitted use of the ECD, prohibited use of the ECD, people in crisis or with mental
and/or behavioral problems and the use of the ECD, medical treatment after the use
of the ECD, procedures after the use of the ECD, responsibilities of the supervisors,
trainings and certifications in the use and operation of the ECD, rules for the use,
operation and maintenance of the ECD, assigning and change of the ECD,
procedure to repair the ECD, duties of the technician at central level, duties of the
technicians in the Police areas, unloading of information of the data port.

The PRPB General Order, Chapter 600, Section 603, titled “Uso y Manejo de Armas
de Impacto” (Spanish for “Use and Operation of Impact Weapons”) (Item #13)
establishes the rules and procedures for the use and operation of the impact
weapons used as less than lethal force by the PRPB. It regulates the carrying of the
impact weapon, the use and operation of the impact weapon, the use of the

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g)

h)

j)

equipment, description of the body areas that should be avoided when using impact
weapons, warnings or verbal commands to be used, referral/transportation for
medical treatment, required training, notifications, required reports and the
responsibilities of supervisors.

The PRPB General Order, Chapter 600, Section 604, titled “Uso y Manejo de
Agentes Quimicos” (Spanish for “Use and Operation of Chemical Agents) (Item #14)
establishes the guides and procedures that will regulate the use and operation of
chemical agents by the members of the PRPB. It establishes the rules for the use
of chemical agents, acts not considered as use of force, the carrying and allowed
uses of pepper spray, the forbidden use of pepper spray, the verbal warnings, the
techniques for the use of pepper spray, the training and certification in the use and
operation of pepper spray, the use of tear gas, the procedures for the
decontamination and treatment, the required notifications and reports, the storage,
the coordinator of chemical agents, the assigning and replacement.

The PRPB General Order, Chapter 600, Section 605, titled “Informe e Investigacion
de Incidentes de Uso de Fuerza de Miembros de Ia Policia de Puerto Rico” (Spanish
for “Report and Investigation of Incidents of Use of Force by Members of the Police
of Puerto Rico”) (Item #15) establishes the rules and procedures to report and
investigate the use of force made by members of the PRPB in the line of duty. It
establishes the reportable use of force (levels 1 to 4), the responsibility to inform of
the use of force, referrals/transfers for medical treatment, the responsibilities of the
immediate supervisor and upper rank supervisors, operations and search warrants
and the required training.

The PRPB General Order, Chapter 600, Section 610, titled “Normas a seguir para
la grabacion de eventos publicos” (Spanish for “Rules for the recording of public
events”) (Item #16) establishes the rules and regulations for the recording by the
PRPB of public events.

The PRPB General Order, Chapter 600, Section 612, titled “Autoridad de la Policia
de Puerto Rico para llevar a cabo registros y allanamientos’, (Spanish for “Authority
of the Puerto Rico Police to perform searches and seizures’”.) (Item #17). This
Section is intended to establish the directives that members of the Puerto Rico Police
must follow in the exercise of their legal authority to carry out searches and seizures
and execute search warrants.

The PRPB General Order, Chapter 600, Section 615, titled “Autoridad de la Policia
de Puerto Rico para llevar a cabo Arrestos y Citaciones” (Spanish for “Authority of
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the Puerto Rico Police to conduct Arrests and serve Summons”) (Item #18). The
purpose of this section is to regulate the policy and the rules that members of the
Police of Puerto Rico must follow in the exercise of its legal authority to conduct
arrests and serve summons.

The trainings involving these related and relevant issues are the following:

Persuasion, Mediation and Conflict Resolution

Techniques and Verbal Commands

Soft Hands Techniques

Hard hands Techniques

Techniques for crowd control

Emotional Health and Stress Management for the Police

Basic Formations Course

Use and Handling of the rigid baton

Use and Handling of the less than lethal weapons and ammunition
Use and Handling of Tear Gas (CS)

IV.B Analysis of the Events (by analyzing documents, video
recordings and interviews): Findings and Recommendations

May 1, 2018:

Dozens of organizations, assorted groups, and students from the University of Puerto Rico
(UPR) organized and more likely than not mapped out the national strike route scheduled
for May 1, 2018, known as the International Workers' Day without consulting the PRPB or
in total disregard of the news conference inviting dialogue prior to the date of the event.
Only members of the U.T.I.E.R. attended the meeting with PRPB to plan the route they
would follow. The other groups of protesters would concentrate on several marches that
would leave from different points in the metropolitan area to presumably arrive at a stage

located in the intersection between Mufioz Rivera and Roosevelt Avenue. The

demonstrations would have their main site on the “Milla de Oro” (Spanish for the “Golden
Mile”) in Hato Rey, San Juan, PR. The issues with and relevant facts of each of the
marches have been addressed previously in this assessment. The incidents that took
place at Ponce de Leon Ave. have also been properly addressed throughout all this
Assessment Report.

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The PRPB provided a copy of a PPR Form-920, REGISTRO DE MOVILIZACIONES DE
LAS DIVISIONES DE TACTICAS ESPECIALIZADAS (Spanish for “REGISTRY OF
MOBILIZATIONS OF THE DIVISIONS OF SPECIALIZED TACTICS’) dated 05/01/2018
signed by PRPB Agent #1. The report informs about the possibility of several protests
marches on May 1, 2018, the majority of them ending at the Mufioz Rivera Avenue and
only one at the Capitol building. It says that in the afternoon, a group of individuals
belonging to an organization identified as “Jornada Se Acabaron las Promesas ” (Spanish
for “We are done with the promises”) wanted to change the established route of the march
but the Police didn’t allow them to do it. The protesters broke glass windows from one of
the buildings in the area and threw all kind of objects (rocks, bottles, balloons containing
skin burning chemical substances at the Police. It was necessary to activate the SWAT
teams who utilized chemical agents and less than lethal weapons to control and disperse
the crowd who became hostile and aggressive. The report stated that PRPB Officer #1
authorized the use of chemical agents. The report has a check mark in the Arrests box but
does not provide a number of arrestees. The report has a check mark in the box Use of
Force and states that there were 2 (two), Types 2 and 3, that is, Use of Chemical Agents
(OC, CS) and less than lethal ammunitions. The report has a check mark in the “Arrestos”
(Spanish for “Arrests”) box as “YES”, but it doesn’t state the number of persons arrested.
The report has a checkmark in the box for [NO] to Lesions, Deaths or Seized Property.

The PRPB provided copy of a PPR-920 A, REGISTRO DE MOVILIZACIONES DE LAS
DIVISIONES DE TACTICAS ESPECIALIZADAS DTE (Spanish for “REGISTRY OF
MOBILIZATIONS OF THE DIVISIONS OF SPECIALIZED TACTICS DTE” dated
05/01/2018 and signed by PRPB Officer #10. The report has a check mark in the Arrests
box but does not provide a number. The report has a check mark in the box “Use of Force
with Lesions” but does not provide a number. The box identified as Impact Weapons has
a check mark in the “Rigid” subsection. The report explains that all personnel belonging to
the DOT that was mobilized, participated in briefing about the May 15 events and that they
reviewed Sections 601 and 605 of the General Order. At 4:00 AM they moved to the PR
Coliseum, to assign personnel to the different meeting points established by the protesters.
PRPB Officer #10 was assigned a team of two squads constituted by agents of DOT from
Aguadilla and Guayama, having three (3) Sergeants and eighteen (18) Agents. His group
met the group led by PRPB Officer #7 to go to Centro Medico from where one of the
marches was scheduled to depart from. At about 5:30 AM they located the two squads at
the Lt. Luis Gonzalez Street. At 10 AM, they were ordered by PRPB Officer #9 to move
the squads that he supervised to the marginal street of the Jesus T. Pifilero Avenue, where
it accesses Ponce de Leon Avenue near the Auxilio Mutuo Hospital. They stayed there
until 11:00 AM, when he received an order to move his Agents to the area of the Popular
Center building. They left the vehicles at Bolivia Street and moved on foot to the Ponce

de Leon Avenue, to reinforce two (2) DOT squads that were located in front building 279
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in Ponce de Leon Ave. In front of the squads there, there was a group of Agents and
Sergeants led by PRPB Officer #30, that assembled a linear formation blocking the pass
of the protesters through the Ponce de Leon Avenue. He placed one of his squads in a
narrow passageway that goes between buildings 304 and 268 in the direction of Mufioz
Rivera Avenue, to reinforce a group of female Agents that blocked the access to Ponce de
Leon Avenue. To this place also arrived the squads led by PRPB Officers #31 and #32.
This way, they had more control, should any confrontations occur with protesters located
in front of the Agents led by PRPB Officer #30 at the intersection of Ponce de Leon with
Roosevelt Avenue. They stayed there for approximately two (2) hours, while the protesters
threw rocks and cherry bombs to the Police. It was then that PRPB Officer #9 approached
the squads instructing to withdraw from that location. They retreated to Bolivia Street, while
this happened, PRPB Officer #9 ordered the squads to stop and make another linear
formation in front of building #217 (MCS Plaza) and building #252 (City Bank Tower), all
because protesters were allowed to enter into Ponce de Leon Avenue. Once allowed to
continue their march, they continued to brake glass windows and throw objects at the
Police. He ordered his personnel to use their gas masks in a preventive way should the
violence of the protesters increase attacking the Police. The protesters continued to
approach the Police squads throwing rocks, cherry bombs, balloons with burning chemical
substances, bottles filled unknown liquids, lead balls and marbles thrown using slingshots.
The protesters also made use wooden shields and sticks. The squads there were
reinforced by two (2) more squads led by PRPB Officer #33, and Agents from SWAT and
Special Arrests. The protesters moved a pickup truck that had sound equipment near to
the Police, from that truck the protesters were getting the objects that they were throwing
against the Police. Once, he went to talk to PRPB Officer #9 about the situation
encountered there. PRPB Officer #9 was accompanied by the PRPB Commissioner Mr.
Henry Escalera and PRPB Officer # 21 to whom he explained the situation. He informed
them that he already had injured Police Agents. PRPB Officer #9 informed that they would
likely withdraw the squads, and PRPB Officer # 21 informed PRPB Officer #9 and the other
Officers that he was going to talk to the protesters to inform them, so they would calm down
their aggressive attitude. He went to the individuals leading the protesters and informed
that they would retreat but that they had to stop the violence. He returned to PRPB Officer
#9 that told him that they had to wait for confirmation before doing anything else. While
waiting, the protesters continued throwing objects to the Police and removed the pick-up
truck. Once they removed the truck, a subject among the protesters commanded the
protesters to make a formation and using their shields the protesters charged against the
Police, pushing and hitting them with the shields and wooden implements. The aggression
against the agents increased. He saw that the line of policemen was being overpowered
in one side by the protesters, and he ordered his agents to push forward. This action
fragmented the squads, so he approached the SWAT agents screaming “GAS, GAS,

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GAS”. This action was taken because the Police line was being fragmented, and they
needed to regain control of the situation by regrouping their personnel because they were
largely outnumbered by the protesters. Once most of the protesters were dispersed, they
regrouped their personnel and they advanced to Roosevelt Avenue where he observed
PRPB Officer #34 to whom he asked how to proceed. PRPB Officer #34 instructed him to
place his squads at Roosevelt Avenue, pointing towards Barbosa Avenue, next to the
Liberty building, where they remained until they controlled the situation in the area. Once
PRPB Officer #1 arrived, he ordered to move the squads towards Ponce De Leon Avenue,
placing them in front of building #279, so they could check if any of the agents was hurt.
They made arrangements with Medical Emergency and Technical Services to treat the
agents contaminated with chemicals and treat the agents that were hit by objects.
Thereafter the squads were re-positioned at the entrance of the Seaborne Building to
receive instructions and to finish the day's activities.

The PRPB provided several reports identifying the personnel that was assigned to work of
the May 15 operation.

The PRPB provided copies of several PPR-174 “INFORME SOBRE ACTIVIDADES
CONSTITUCIONALES O DISTURBIOS CIVILES” (Spanish for “REPORT ON
CONSTITUTIONAL ACTIVITIES OR CIVIL DISTURBANCES’):

e One was dated 05/01/2018 and was signed by PRPB Officer #35. He informed the
following:
NO arrests were made, NO use of force, NO injuries or deaths occurred and that
the total number of PRPB personnel engaged in the event was one hundred and
one (101) agents. He explained that they established a perimeter, so they could
prevent the protesters from accessing the highway over the bridge at Roosevelt
Ave., should they had attempted to do it. The PRPB escorted a group of marchers
that departed from the Roberto Clemente Coliseum to the designated area of the
Luis Mufioz Rivera Avenue in Hato Rey without any inconveniences.

e Another report was dated May 2, 2018 and it was signed by PRPB Officer #34 and
he informed the following:
NO arrests were made, NO use of force, NO injuries or deaths happened and the
total number of PRPB personnel utilized was 80 (eighty) members. In his PPR Form
174, Officer #34 informed that on May 1, 2018, approximately one thousand (1,000)
students of the University of Puerto Rico (UPR) met at Ponce de Leon Avenue, right
in front of the UPR, to assemble a group of persons to march towards the
intersection with Roosevelt Avenue. The PRPB escorted the march until they

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arrived at Roosevelt Avenue without any incidents taking place. While still on their
way to Roosevelt Avenue, the march passed by near the Labor Department's
building where joined by another group identified as “Se acabaron las promesas”
(Spanish for “We are done with the promises”). Upon arrival at the intersection with
Roosevelt Avenue, the protesters remained there instead of continuing their march
to the platform area on Munoz Rivera Avenue. PRPB personnel led by Officer #34
Stayed near the CVS Pharmacy located in that area. There were repeated incidents
of disturbance that occurred in that location that were documented by PRPB Officer
#30 who oversaw the activity in the perimeter.

e Another PPR Form 174 Report dated May 1, 2018 signed by PRPB Officer #27
informed the following:
NO arrests were made, NO use of force made, NO injuries or deaths happened and
the total number of PRPB personnel utilized was 45 (forty-five) members. He
informed that the march that left from the Department of Education HQ went all the
way to the intersection of Mufioz Rivera Avenue and Domenech Avenue. The same
went by in an orderly manner without any incident being noticed or reported.

e Another report (PPR Form 174), dated May 2, 2018, signed by PRPB Officer #13
informed the following:
NO arrests were made, NO use of force was reported, NO injuries or deaths
happened and the total number of PRPB personnel utilized was 60 (sixty) members.
He indicated that at approximately 10:00 AM, four hundred (400) persons of the
group identified as “Se acabaron las promesas” arrived at the Mufioz Rivera Avenue
near the Department of Labor building. There they joined with the group of students
from the UPR and continued their march up to the intersection with Roosevelt
Avenue escorted by PRPB Officer #34. His personne! stayed at Mufioz Rivera
Avenue in front of the CVS Pharmacy.

e Another PPR Form 174 dated May 2, 2018, signed by PRPB Officer #1 informed
the following:
(19) arrests were made, property was seized, there were twelve (12) incidents of
use of force, twenty-three (23) injured persons, and no deaths were reported. A
total of one thousand two hundred twenty-five (1,225) members of the PRPB
participated in this event. It was reported that on May 1, 2018, beginning at 9:00
AM, approximately 5,000 persons participated in six (6) marches which ended with
a big manifestation at the intersection of Roosevelt Avenue with Ponce de Leon and
Mufioz Rivera Avenues. The march organized by UPR students joined the march

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of a group identified by the name “Se Acabaron las Promesas” and marched
together until they arrived at the intersection of Ponce de Leon Avenue with
Roosevelt Avenue. The labor organization UTIER met with personnel of the PRPB
days before the event to coordinate the logistics of their march. The rest of the
groups didn’t meet with the PRPB despite the fact they were invited through written
communications and a public press conference. All marches followed the
established routes without incident prior to arriving at the activity’s site. The UPR
student's march and the group “Se Acabaron las Promesas”, upon arriving in the
vicinity of the activity’s location, insisted on forcing their way through Ponce de Leon
Avenue towards the Popular Center building, a banking institution vandalized by
protesters during the same celebration of the “Workers’ day” in 2017. The PRPB
had established a security perimeter in the intersection of Ponce de Leon Avenue
and Roosevelt Avenues as a cautionary measure to avoid damages to private
properties. At that location protesters commenced throwing objects against the
Police and the glass windows of the Liberty building. The protesters were blocked
by uniformed personnel from the Bayamon Area and by personnel of DOT and
SWAT. Three (3) warnings were given to the protesters advising them to cease their
violent activity or else they would be forced to use chemical agents. In order to
avoid using the chemical agents they decided to withdraw the personnel and allow
the protesters to pass through Ponce de Leon Avenue and as soon the personnel
was removed the protesters started throwing objects like rocks, marbles and small
projectiles (balls) with the use of slingshots towards the agents who had moved to
the sidewalks of Ponce de Leon Avenue and against the glass windows of Plaza
Building 273. In view of such action, an order was given to assemble the DOT
squads again to avoid further aggression to PRPB personnel from Bayamon and to
preclude protesters from causing further damages to the rest of the buildings and
private property in that location. A total of forty- five minutes to an hour elapsed with
the protesters continuously engaged in the throwing of rocks, marbles, projectiles
(balls) and balloons filled with chemical substances to the Police which caused
injuries to Police agents and protesters. At some point a dialogue was established
to withdraw PRPB personnel conditioned to protesters refraining from further
aggressions and going all the way back without marching into the banking area.

The protesters continued the pattern of aggression and resolve to reach the banking
area and commenced to attempt to overcome the police blockade by pushing
policemen. At that time those actions got to the point that they were considered a
“civil disturbance” that placed at risk the safety of policemen and protesters. Based
on this, an order was given to disperse the protesters using chemical agents. They

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advised the protesters?' not less than five times about the possibility of using
chemical agents against them, should they continue with their acts of aggression.
At that location personnel from Medical Emergencies had been posted since 6:00
AM as a part of the PRPB workplan.

A total of 18 (eighteen) arrests were made along with the detention of a juvenile for
local offenses ranging from aggravated assault and battery, damages to property,
inciting a riot, obstruction of justice, to possession of controlled substances, among
other charges which are being evaluated by the San Juan District Attorney. The
dispersal action continued through Mufioz Rivera Avenue up to Santa Rita
Urbanization in Rio Piedras due to the fact that the protesters continued to damage
property, set on fire assorted objects and throwing objects to the Police. At the
Santa Rita Urbanization, four (4) persons were arrested for assaulting a PRPB agent
and obstruction of justice. Two of the arrests were conducted in the front yard of a
residence because the persons attempted to flee by going into the yard of the house
and the agents followed in hot pursuit. While a group of policemen gathered in that
vicinity, several protesters at Fernando Primero Street, commenced to vandalize an
official marked Police vehicle. The PRPB agent who intervened with them was
assaulted by the protesters who hit him in the head with a hammer. A woman was
arrested in this event.

e Another PPR Form 174 Report one was dated May 1, 2018 and it was signed by
PRPB Officer #36. He informed the following:
NO arrests were made, NO use of force reported, NO injuries or deaths occurred
and the total number of PRPB personnel utilized was one hundred and three (103)
policemen. He explained that a manifestation was made by the “Union Central de
Trabajadores,” Spanish for Worker's Central Unian where they invited all the unions
to participate, including those representing government employees. The march
started at 10:30 AM with the participation of approximately one thousand three
hundred (1,300) protesters and ended at 4:00 PM without any incidents reported.
The PRPB provided a document titled “Lista de Agentes y Ciudadanos Lesionados
en Manifestacion del 1ro. de Mayo de 2018” (“List of Agents and Citizens Injured
during the Manifestation of May 1%, 2018”). In this list they provided the names,
with assigned complaint number included, of nine (9) agents and seven (7) citizens.
The PRPB also provided a document titled “Lista de Personas Arrestadas y Darios
a la Propiedad en manifestacion de 1ro de mayo de 2018” (List of Arrested Persons
and Damaged Property during the course of the Manifestation of May 18, 2018’).
In this document they listed the names of nineteen (19) individuals arrested and the

 

21 This part of the report appears to be in conflict with other reports and interviews conducted in this Assessment.
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criminal offenses for which they were arrested for. These individuals will be referred
to in this report as Arrestee #1 through Arrestee #19.

IC Jose Pujol IC Jose Pujol requested from the PRPB a list of all members of the PRPB
present during the events of May 1%, 2018, and information of all prior training of these
Officers/Agents. The PRPB produced seventeen (17) groups of documents in response to
this request.

The PRPB submitted one (1) PPR Form-468 titled “Informe de Incidente” (“Incident
Report”), one (1) PPR Form-880 “Declaracion Narrativa del Miembro de la PPR Sobre
Informe de Incidente” (Narrative Statement by PRPB Member Regarding Incident Report’),
one (1) PPR Form-126 “Inventario de Propiedad Ocupada’” form (Inventory of Seized
Property), one (1) PPR Form-82 “Condicion de Persona Ingresada/Egresada a Celda”
(Condition of Person Incarcerated/Released from Cell), one (1) PPR Form-264 “Formulario
de Advertencias Para Personas Sospechosas En Custodia” Warning and Waiver of Rights
Form for Suspects Under Custody”), one (1) PPR Form-879 “Formulario de
Consentimiento A Un Registro” form (Consent To Search Form), all the above related to
Arrestee #11.

The PRPB submitted one (1) PPR Form-468 form, one (1) PPR Form-77 “Memorando”
form (Spanish for “Memorandum’), one (1) “Formulario Sobre Autorizacion Para La
Disposicion De Sustancias Controladas” form (Spanish for “Authorization Form for The
Disposition of Controlled Substances”), one (1) PPR Form-126 form, one (1) PPR Form -
264 form, one (1) PPR-880 form, all related to Arrestee #5.

The PRPB submitted produced one (1) PPR-Form 468, one (1) PPR Form-880, one (1)
PPR Form-264 and one (1) PPR Form-82, all related to Arrestee #2.

The PRPB submitted one (1) PPR Form-468, one (1) PPR Form-264, one (1) PPR Form-
82 and one (1) PPR Form-880, all related to Arrestee #3.

The PRPB submitted one (1) PPR Form-468, one (1) PPR Form-880, one (1) PPR Form-
264 and one (1) PPR Form-82, all related to Arrestee #4.

The PRPB submitted one (1) PPR Form-468, one “Certificado de Asistencia” (Assistance
Certificate), one (1) PPR Form-126, one (1) PPR Form -264 and one (1) PPR Form-880
all related to Arrestee #6.

The PRPB submitted one (1) PPR Form-468, one (1) PPR Form-126, one (1) PPR Form
240 “Registro de Evidencia” (Evidence Inventory), one (1) PPR Form-880 one (1) PPR-
264, one (1) PPR-82 form, ail related to Arrestee #7. Additionally, in the same file, the

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PRPB included one (1) PPR Form-82 related to Arrestee #9. No other forms for this
Arrestee were provided.

The PRPB submitted one (1) PPR Form-468, one (1) PPR Form-77, one (1) ‘Citacion
Official” (“Official Summons’), one (1) PPR Form-880, one (1) Report dated 05-24-2018
with narrative of the arrest, one (1) copy of “Denuncia” (Complaint) #201801 16203623, one
(1) PPR Form-264 and one “Certificado de Asistencia” (Assistance Certificate), all related
to Arrestee #10.

The PRPB submitted Produced one (1) PPR-468 form, one (1) PPR-880 form and one
“Certificado de Asistencia” (Spanish for “Assistance Certification”) form, all related to
Arrestee #12.

The PRPB provided a document consisting of eleven (11) pages as compliance for the
request of the After-Action reports made by IC Jose Pujol. The document is titled
“MINUTA: EVALUACION “CRITIQUE” SOBRE LAS ACTUACIONES DE LA PPR EN LAS
MANIFESTACIONES OCURRIDAS EL 1 DE MAYO DE 2018” (MINUTES: EVALUATION
"CRITIQUE" OF THE ACTIONS TAKEN BY THE PPR IN THE MANIFESTATIONS OF
MAY 1, 2018"). The document references a meeting that the Incident Commander had with
the following personnel: one (1) Colonel, twelve (12) Lt. Colonels, one (1) Commander,
two (2) Inspectors and two (2) Lieutenants. The document it is a compendium of the
collective opinions of all participating officers, all of which reached consistent conclusions
on the following issues:

e STRENGTHS: 1) Participation of all assigned personnel. 2) The back-up, presence
and control of the high-ranking Officers in the different manifestations. 3) The proper
amount of human resources. 4) The logistics for food and water were excellent. 5)
The commitment and courage of the Police personnel was demonstrated. 6) The
PRPB personnel was highly tolerant of insults, aggressions and physical and
psychological pressures. 7) The organization of the Operational Plan and the
previous briefings and meetings were excellent.

e WEAKNESSES: 1) The radio communications. 2) The protective and safety
equipment for the Agents. 3) The delay in decision making.

Next is a review by IC Jose Pujol of video recordings of the events of May 15', 2018 shown
live on television by one of the main local stations. In the following account, the times
made reference to are the times electronically imposed in the video by the TV station.

e The five marches departed from: 1) Labor Department Building (“Se Acabaron las
Promesas” - (We are done with promises) 2) Department of Education HQ; 3)

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University of Puerto Rico (UPR), Rio Piedras campus; 4) Hiram Bithorn Stadium;
and 5) Puente Dos Hermanos (Ben Brothers Bridge).

AT APPROXIMATELY:

e 10:46 AM, the march from the UPR departed from the vicinity of UPR.

e 11:10 AM, some individuals covering their faces with masks and having wooden
made shields can be seen at the “Se Acabaron las Promesas’” march.

e 11:15 AM, the UPR march meets the “Se Acabaron las Promesas” march.

e 11:17 AM, the big march starts moving North on Ponce the Leon Avenue.

e 11:25 AM, the march of the Ponce the Leon Avenue starts arriving at the intersection
with Roosevelt Avenue, where they encounter a line of Police Officers blocking their
pass and denying entrance to the banking area of Ponce de Leon Avenue.

e 11:28 AM, many protesters that were denied entrance to the banking segment of
Ponce De Leon Avenue turned left towards the stage area, from where protest
speakers are heard addressing the crowd.

e 11:40 AM, the march that departed from the Department of Education HQ marches
in front of the Federal Building where they made use of loudspeakers to demand
the liberation of Nina Droz from federal custody. Members of the PRPB Tactical
Operations Division dialogued with the protesters and the march continued in a
peaceful manner.

e 11:41 AM, it can be observed that a large crowd of protesters are gathering in front
of the line of police agents in front of the Liberty Building in Ponce de Leon Avenue.

e 11:51 AM, members of the UTIER were observed marching on Roosevelt Avenue
toward the Milla de Oro sector.

e At noon, an aerial visual shot shows that a large crowd is gathering at the Milla de
Oro.

e 12:05 PM, a clearly established line of protesters is observed facing the line of the
Police Agents, with some reporters in the middle taking photographs and recording
videos of the confrontation.

e 12:16 PM, a video apparently shot from the rooftop of one of the adjacent buildings
shows that very large crowd of protesters is facing the line of Police Agents at Ponce
de Leon Ave.

e 12:22 PM, Subject “Q” speaks to a reporter and says that they negotiated with PRPB
Officer #26 to pass-through Ponce de Leon Avenue but that the Police Inspector
denied their request. This video also shows protesters with their faces covered with
masks and holding wooden shields.

e 12:28 PM, the line of protesters approached the lines of Police Agents blocking
Ponce de Leon Avenue. Many of the protesters are observed with their faces

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covered with masks. A couple minutes later the video shows when an object is
thrown to the Police by the protesters.

e 12:32 PM, the line of Police Agents takes on a defensive tactical position and it can
be heard when some explosives detonate (fireworks grade detonations).

e 12:34 PM the police agents get their batons in a defensive/ready position and
negotiators intervene attempting to calm the situation. The Police Officers put on
their anti-gas masks. The reporter explains that a bottle thrown by the protesters
hit one of the Police agents.

e 12:37 PM, several objects were thrown against the Police and some hit the Police
agents.

e 12:39 PM the line of Police Officers advanced some steps forward intensifying the
already heated up situation.

e 12:42 PM, the TV reporter stated that there was a confrontation in progress at Ponce
de Leon Avenue. She added that some explosions were heard and that rocks were
thrown against the Police.

e 12:43 PM, a line of protesters was observed holding wooden shields and facing the
line of Police agents. Many objects are thrown against the agents.

e 12:46 PM, Subject “S,” who allegedly attempted to mediate with the Police, claimed
that she was pushed by the agents.

e 12:47 PM, unexpectedly the line of Police Agents moved away from the intersection
going on North Ponce de Leon Avenue.

@ 12:49 PM, an individual known as Subject “Q” states he believes that this move
could be an entrapment by the Police, and he makes reference to “possible new
blood bath,” when no such event had taken place at that location.

e 12:50 PM, the line of Police Officers is observed located in one side of Ponce de
Leon Avenue. Members of the SWAT team are also observed.

@ 12:53 PM, policemen riding in motorcycles are seen leaving Roosevelt Avenue and
a large number of protesters going into the Milla de Oro through the Ponce de Leon
Avenue, at the intersection where the police blockade was previously
established.

e 12:55 PM, an aerial shot taken by a camera on an R/C drone craft shows that
segment of Ponce de Leon Avenue. Protesters passed by the building identified as
Plaza 2713. Protesters holding wooden shields are visible. A TV news reporter
(Jose Estevez) informed that the Police opened the intersection of Ponce de Leon
with Roosevelt Avenue following the Governor's instructions, information that was
allegedly provided to him by PRPB Officer #1.

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12:56 PM, the Police assembles a new blockade in Ponce de Leon Avenue almost
in front of the MCS building. Subject “Q” and PRPB Officer #26 are presumably
intending to talk to negotiate.

12:58 PM the TV news reporter (Jose Estevez) informed again that the Police
opened the intersection of Ponce de Leon with Roosevelt Avenue following the
Governor's instructions, information that was allegedly provided to him by PRPB
Officer #1. A line of masked protesters is seen facing the line of Police Agents. The
number of masked protesters rapidly increased.

1 PM, a triple line of Police Agents can be seen in front of the MCS building, just
after a fast food restaurant located there. Minutes later, Police agents wearing gas
masks are observed. A vehicle adapted with a huge sound equipment is observed
approaching the line of Police Officers and is placed in the space between the
protesters and the lines of Police agents.

1:07 PM, the TV reporter informed the protesters broke glass windows at the Plaza
273 building.

1:15 PM, Subject “T” spoke to the TV news reporter and stated that the Police
pushed a protester who felt to the ground and that some of the Police agents were
not properly identified and that the SWAT agents had no IDs. She stated she had
photographs of the Police agent that pushed the protester and of his badge number.
1:18 PM, the TV news reporter (José Estevez) stated again that he was informed
by PRPB Officer #1 that the Governor personally gave the order to open the
blockade located at the intersection of Ponce de Leon with Roosevelt Avenue.

1:21 PM, masked protesters are seen breaking concrete tiles into small pieces. All
these individuals wore similar clothing. A short span of time later, a female person
talking on a loud speaker is heard inciting the protesters and asking the Police to
negotiate.

1:24 PM, the masked protesters that were breaking the concrete tiles are observed
holding a hammer and metallic pipes.

1:25 PM, the man using the loudspeaker calls PRPB Officer #26 but keeps heating
up the situation stating that the Police doesn’t want to talk to them and deprived
them of their right to march.

1:27 PM, the Police Agents are observed getting ready to react. Subject “Q” talks
through the loudspeakers stating that they will march through the Milla de Oro. He
tells the Police to give up their intent to confront them, that no one will leave running,
that they are only one militant group and that they will give a decisive blow to reach
their goal. He again invites PRPB Officer #26 to negotiate.

1:32 PM the vehicle carrying the loudspeakers is removed from the frontline a short
moment later the protesters are observed getting closer to the line of police agents.

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1:37 PM, another line of police agents can be seen at the intersection with Bolivia
Street.

1:41 PM, loud bursts are heard in the protesters side and immediately thereafter
rocks are thrown against the police agents and a line of protesters holding wooden
shields advance to face the line of police agents. More rocks are observed being
thrown against the Police.

1:45 PM, many police agents are observed wearing gas masks and replacing those
without gas masks, so they can go get theirs. Many rocks are observed in front of
the line of Police officers, rocks that had been thrown at them minutes before.

1:47 PM, is seen throwing objects against the Police. A minute later, many objects
are thrown again against the Police.

1:49 PM, some protesters collect the rocks located in front of the line of police
agents.

1:51 PM, harangues”? are voiced from the loudspeakers again heating up the
situation. A policeman is observed moving forward, apparently to dialog with the
protesters. The protesters continuously chant that they are more, meaning they are
larger in numbers.

1:53 PM, the TV reporter stated that apparently the Police will move from the area
if the protesters stop throwing objects to them. Minutes later, an apparent dialogue
between the Police and some protesters is observed.

1:58 PM, the protesters advance towards the Police and stop a few feet away from
them. Some reporters place themselves between the two opposing lines.

2:04 PM, some protesters are observed throwing projectiles to the Police using
slingshots.

2:10 PM, the protesters are observed clashing against the line of police agents. The
Police starts using CS gas against the protesters and also charges against them,
causing the protesters to retreat. No dispersal order and/or advise that gas will be
launched at the protesters is audible in the video.

2:12 PM, the protesters are observed retreating. Some move to Mufioz Rivera
Avenue and others to Roosevelt Avenue.

2:16 PM, a line of policemen at Ponce de Leon and Roosevelt Avenues are
observed advancing towards intersection with Roosevelt Avenue. Protesters
appear to have been removed from Ponce de Leon Ave.

2:20 PM, Police agents can be seen on both avenues advancing southbound
making use of gas.

 

22 Angry speech. Arenga in the Spanish language

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2:26 PM, Mufioz Rivera Avenue can be seen cleared of most of the protesters.
There is a line of Police agents at Chardon Street. SWAT teams advance
southbound on Mufioz Rivera avenue.

2:28 PM, lines of Police Agents block the entrance to Ponce de Leon, Mufioz Rivera
and Roosevelt Avenues.

2:31 PM, the Police advances southbound on Mufioz Rivera Avenue passing under
the urban train bridge and still facing many protesters. Again, rocks are thrown
against the Police Officers.

2:37 PM, the acting PRPB Commissioner, Henry Escalera talks to a TV news
reporter. He informed the following: that they cleared the blockage located at Ponce
de Leon Avenue and Roosevelt Avenue (Liberty building), but the protesters broke
glass windows and injured police officers, so they decided to block the avenue
again. An agreement was reached that they would let the protesters pass through
conditioned to the protesters stop throwing objects at the Police, but this
understanding didn’t materialize. He decided then, as Police Commissioner, to
authorize the use of gas against the protesters. He informed that a lady, an agent
and a Police Officer were injured. He stated he was satisfied with the work
performed by the Police and added that at that moment he had no information about
arrests.

2:41 PM, the protesters were located near the Labor Department building. The
Police was still using gas against them.

A review of a recording of the news at Telemundo, “Telenoticias”, at 4 PM showed the
following:

They showed clear images of the protesters breaking the concrete tiles to make
smaller pieces to throw to the Police.

A reporter stated that the confrontation was expected since much earlier in the
morning.

PRPB Officer #27 explained that: at the Eleanor Roosevelt Street protesters
attacked a teacher and were arrested. That they arrested several persons that
attacked Police Officers. That he didn’t agree with the protesters that argued they
could march through Ponce the Leon Avenue. That police reports reflected minimal
damages to buildings.

The TV channel goes live on Avenida Universidad where an attorney identified as
Subject “U” informs that the Police alleged that the arrested protesters had thrown
rocks at them, which he denied and argued that they were just retreating and talking.
That at the time the Police intervened with them, they were not advised of the

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Miranda rights and were placed under arrest. That the protester didn't resist arrest.
That no damage was made to any property.

A reporter informed that approximately ten persons (10) were arrested, seven (7) of
them in relation with the confrontation with a teacher. The reporter further informed
that two arrestees, Arrestee #3 and Arrestee #2, were taken to the Barrio Obrero
Police Station.

A review of a video found on the internet titled “Arrestos en Rio Piedras. 1 Mayo Paro
Nacional” (“Arrests in Rio Piedras. May 15 National Strike”) shows the following;

There is a Police Officer in from of a yellow house arguing with some individuals
standing behind the house’s fence.

A person is observed running very fast towards the house and he tosses a liquid
substance from a bottle to a Police Officer. He goes behind the house’s gate and
the policeman follows in hot pursuit and goes on to arrest him. At least two other
persons are arrested on that street. Many Police agents are observed at the scene,
and they are thrown assorted objects from behind the gate.

A review of video recordings of the events of May 1, 2018 shown on the webpage of Metro
newspaper revealed the following:

A reporter covering the events of May 1, 2018 for the Metro newspaper was
approaching a site where a protester was being arrested while he was video
recording the scene.

A Police agent stopped him, and the reporter identified himself as “Prensa” (Spanish
for “Press’).

The Police agent commanded the reporter to retreat a few times, order that he
complied with by moving back a few steps. All of a sudden, the reporter falls to the
ground and screams.

A shot taken by another reporter located behind him, clearly shows that the Metro
reporter fell because he was hit in the back by another policeman who used a baton.

The American Civil Liberties Union had observers in the area and gracefully provided their
video evidence of the event:

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The DVD contains the following folders:
Name

_) Acceso denegado a observadores
, Acceso denegado Liberty
, Acceso denegado Marea Feminista
_) Efectos gases lacrimogenos
_, Eventos posteriores
, Incidentes
j Marchas
_) Material recopilado
Operativo Rio Piedras
Policias enmascarados
Policias sin identificacion
_, Ponce de Leon
, Seguridad privada
) Unidades y Areas

A review of a DVD provided by the ACLU shows the following:

e The folder identified as “Acceso denegado a observadores” contains two video
recordings showing how the ACLU members were denied entrance to Mufioz Rivera
Avenue on their way to their offices by the Police in spite of explanations for their
presence there and properly identifying themselves as legal observers of the event.
Among them were legal observers of the PR Bar Association and some protesters.

e The folder identified as “Acceso denegado Liberty” contains three photographs
showing the lines of Police Agents at intersection of Ponce De Leon with Roosevelt
Avenue. The folder also contains two video recordings showing the same lines of
police agents. In one of the videos a male individual can be heard saying on a loud
speaker that they are there to ensure the safety of the protesters.

e The folder identified as “Acceso denegado Marea Feminista” contains three
photographs of the lines of police agents impeding the group Marea Feminista from
continuing their march through Ponce de Leon Avenue. The folder also includes
four video recordings depicting the aforesaid.25

 

23 it should be noted that the PRPB later on permitted Marea Feminista, a non-violent group to continue their
march passing by the side of Banco Popular building on to Munoz Rivera Avenue.
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e The folder identified as “Efectos Gases Lacrimogenos’” contains five photographs of
members of the ACLU and other subjects depicting the effects of the CS gases on
their faces. The folder also contains three video recordings:

“IMG_1973°” is a video recording of a female teacher with her three children
affected by the CS gas. The teacher explains how unjust it is not being able
to go to a pacific public demonstration for self-expression without being
punished for that.

“IMG_2113” is a video showing many protesters running/walking on Ponce de
Leon Avenue fleeing from the Police that had just made use of CS gas against
them. The video was recorded near the building identified with #273.
“IMG_2234” is a video showing members of the ACLU and protesters leaving
the confrontation area, specifically walking on Mufioz Rivera Avenue, while
affected by the CS gas.

e The folder identified as “Eventos Posteriores” contains three (3) photographs
showing the lines of Police agents at different locations, and six (6) video recordings
as follows:

“IMG_2253” is a video showing a line of policemen blocking Munoz Rivera
Avenue, and another line of policemen blocking at Chardon Avenue just after
passing the Liberty building.

“IMG_2256” is a video showing lines of policemen blocking Munoz Rivera
Avenue.

“IMG_2722” is a video showing two lines of policemen on Ponce de Leon
Avenue, hundreds of yards away one line from the other and protesters
trapped between the two lines. Gas is apparently being thrown to them.
“IMG_2816” is a video showing a group of SWAT personnel that has recently
dispersed gas. One of the agents is observed with a shot gun on his hands
facing an observer and appears to be confronting him but is dissuaded by
another SWAT member. A lady seriously affected by chemical agents is
seen in the video. This action takes place on Mufioz Rivera Avenue near
the Walgreens pharmacy.

“VIDEO0051” is a video showing an individual running Southbound on
Mufioz Rivera Avenue but falls down and a Police Agent tries to detain him.
“YESJ7152” is a video showing a group of SWAT personnel that has shot
gas recently on Mufioz Rivera Avenue near the Walgreens pharmacy. A
lady seriously affected by chemical agents is audible in the video and
observed being helped by a male individual.

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The folder identified as “Incidentes” contains three (3) photographs. Two of them
show the injuries suffered by an individual that appears have received a shot of
ammunition used by the Police at close range. This non-lethal ammunition
(pellets) is fired using a shot gun and the pellets are contained in one shell. The
other photograph shows a SWAT agent about to spray a lady in a red shirt with

pepper spray.

The folder identified as “Marchas” contains three (3) photographs of lines of
policemen related to the different marches.

The folder identified as “Material recopilado” contains three (3) photographs of
used ammunition (by SWAT) that were collected by the ACLU. There is a fourth
photograph that depicts remnants of what appears to have been an improvised
(homemade) gas mask.

The folder identified as “Operativo Rio Piedras” contains four (4) photographs and
two (2) video recordings. The photographs show Police agents presumably in the
Rio Piedras area. One of the videos shows a group of Police agents in Rio
Piedras, and the other one shows a huge line of policemen in Mufoz Rivera
Avenue. .

The folder identified as “Policias enmascarados” has three (3) photographs. In
each of these photographs there is an agent covering his face with a tactical mask.
In two of them, the masked agents clothing shows their name and badge number.
In the third one is hard to tell because the agent has her arms crossed in a way
that doesn't allow to confirm or deny whether she wore a name tag with a badge
number.

The folder identified as “Policias sin identificacion” contains three (3) photographs.
In each of these photographs there is an agent that, despite having the Police
clothing and equipment (handgun, taser) is not properly identified. A cursory
examination of the set of photographs may give support to the theory that the
group’s lack of identification is not accidental.

The folder identified as “Ponce de Leon” contains two (2) photographs and six (6) video
recordings. One (1) of the photographs shows a line of policemen blocking Mexico Street
(with no protesters around) and the other one (1) a line of policemen blocking the
intersection of Mufioz Rivera Ave with Bolivia St. The six videos show the following:

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e “IMG_2252” is a video recording made from a rooftop showing the line of
policemen facing hundreds of protesters. In the audio of this video the crowd is
continuously chanting “somos mas’ (Spanish for “we are more”). Someone in the
crowd with a loudspeaker (apparently Subject “Q”) instructs the crowd to move
two steps forward, which they do, pushing their way against the lines of
policemen. The Police is able to hold for a while, but a fight erupts between some
protesters with policemen. It is then that the Police starts using CS gas against
the crowd. The crowd rapidly retreats because large amounts of gas used. The
Police is observed rapidly moving forward after the crowd’s quick retreat.

e “IMG_2691” is a video recording showing many policemen in front of Banco
Popular, and a line of agents blocking the intersection between Mufioz Rivera
Avenue and Bolivia St. It also shows several policemen at Ponce de Leon Avenue
walking towards Roosevelt Ave.

e “IMG_2704” is a video recording showing some protesters assisting a lady
apparently in need of medical assistance. It also depicts a line of the policemen
observing without interfering with the situation.

e “IMG_2724” is a video recording showing the line of policemen at the Liberty
building with a protester using a loudspeaker to call PRPB Officer #26 to dialogue
with him. Some SWAT personnel is seen retreating behind the lines of Police
Agents

e “IMG_2725’ is a video recording showing the lines of policemen at Ponce de Leon
Avenue wearing gas masks.

e “MVI_0937” is a video recording showing when SWAT personnel started using
chemical agents against the crowd taken from a different location of a previously
reviewed video recording of the same incident.

The folder identified as “Seguridad Privada” contains three (3) photographs of private
security agents at the building identified as Plaza #2713.

The folder identified as “Unidades y Areas” has thirteen (13) photographs of several
Police vehicles and Police Agents. One photograph shows three (3) vehicles of the
COPS association. This organization identifies itself as: “The Organized Corporation
of Police and Security, (C.O.P.S.) a nonprofit organization purportedly promoting the
social and economic progress of each of its partners, as well as the general welfare of
public employees’.

On May 25, 2018, twelve (12) DVDs from CRADIC were delivered to the TCA Office. A
review of the DVDs revealed the following:

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DVD #1. This DVD contains sixteen video clips. It starts at the first blockade
made by the Police on Ponce Leon, near the Liberty building. It shows when
the Police talks with loudspeakers to the protesters asking for the protesters
not to throw objects to them. It also shows that once the protesters are
allowed to go past the blockade, the Police forms at the right side of the
avenue and the protesters move Northbound on Ponce de Leon. The
cameraman apparently stops and remains in a lateral street in front of a
building identified as AON Center #394. Later on, in this video it is observed
from a distance gas are thrown and protesters retreat using that same
avenue. The recording shows the Police in pursuit Southbound on Ponce de
Leon and continues up to the point in time when they reach a street in Rio
Piedras.

DVD #2. This DVD has fifteen (15) video clips. In one of the video clips it is
seen whet the Police performs an arrest at Roosevelt Avenue, near the Yum
Yum Tree Restaurant. The arrestee is a female and the audio heard reflects
that she is being arrested for throwing rocks to the Police. Another video clip
shows a policeman, apparently injured, with a big bandage wrapped around
his head. Other video clips show, like it is shown in DVD #1, how the Police
moves along Mufioz Rivera Avenue until they arrive at a blockade made with
metallic fences prepared by the protesters. They proceed to remove the
makeshift fence and are shot at with marbles fired from slingshots. The Police
reacts by using gas against the protesters. The video then shows the Police
arriving at a street located to their left, presumably Avenida Universidad,
where they enter the area known as Santa Rita in Rios Piedras. A group of
protesters confronts the Police. One of the video clips shows the arrest a
male individual wearing shorts. Several video clips show the damages
sustained by my many Police motorcycles.

DVD #3. This DVD shows dozens of policemen in front of the Seaborne
building. Three Officers appear thanking them for the job done.

DVD #4. This DVD contains ten (10) video-clips. The first four were shot
near the UPR before the march started. The fifth one shows a line of
policemen blocking Ponce de Leon Avenue at the intersection with Mufioz
Rivera Avenue, from the other side of the Liberty building. It also shows the
action that took place when protesters on account of the gases thrown at
them at the Milla de Oro. Two (2) male individuals were arrested while

seating in front of the line of Police Agents. The gas arrived at the line of the
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Police Agents, but they maintained the line. Some of the Policeman coming
from the Milla de Oro turn on Ave. Roosevelt towards Ave. Barbosa following
some of the protesters. After a while they returned to Ponce de Leon Ave.
Another video shot shows how they arrest a male individual in front of the
Walgreens located at Mufioz Rivera Ave. Other video shots show how Police
Agents advance Southbound Mufioz Rivera Avenue.

e DVD #5. This DVD contains only one video-clip. This video on this recording
is shot from the line of policemen located at Roosevelt Avenue just meters
down from the location of the “Tren Urbano Station”. Protesters can be
observed moving in a Southerly direction in Ponce de Leon Avenue, fleeing
from the Milla de Oro.

e DVD #6. This DVD contains fourteen (14) video-clips. These video
recordings are shot from a rooftop of a building. The video clips show when
the first line of policemen, at the Liberty building, opens up and allows the
protesters to pass by. It shows the incident that took place at the second
blockade prepared by policemen at Ponce De Leon Avenue. It shows how
the conflict between protesters and policemen initiated, including the stone
throwing by the protesters against the Police followed by the clash of
protesters to overcome the Police line, and the subsequent reaction using
chemical agents and other non-lethal weapons against the protesters.

e DVD #7. This DVD contains fourteen (16) video-clips. These video
recordings show the same events as DVD #6 but were recorded from a
different rooftop.

e DVD #8. This DVD contains fourteen (14) video-clips. The first video clips
are shot from a building and recorded the action of protesters at the Liberty
building in front of the first line of policemen. Some protesters are observed
with their faces covered and using slingshots to throw rocks to the Police. In
a following segment of the video the protesters are observed after being
allowed to go pass the Liberty building line and one of the policeman is heard
saying “eso es malo, les dieron la oportunidad de que entraran, ahora nos
van a destrozar eso alla adentro” (Spanish for “this is awful, they gave them
the opportunity to enter, now they are going to destroy things in there”). The
video depicts the first smoke grenade landing at Ponce de Leon Ave. and the
protesters commencing to scatter. The rest of the camera shots taken is this
video are all taken at ground level, following SWAT and other policemen

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moving South on Mufioz Rivera Avenue until they reach near Jesus T. Pinero
Avenue (Avenida Central).

e DVD #9. This DVD contains nine (9) video clips. The first video clips shot
from a building recorded protesters at the Liberty building by the first line of
policemen. Some protesters are observed with their faces covered using
slingshots to throw rocks to the Police. A pickup truck used by the protesters
that had its license plate covered also appears in these video recordings. The
action in the videos reflects the cameraman followed the policemen to Rio
Piedras.

e DVD #10. This DVD has five (5) video clips and eleven (11) photographs.
The video clips are recorded from a rooftop that has a view of Ponce de Leon
and Mufioz Rivera Avenues where they respectively intersect with Bolivia
Street and Chardon Street. The first video was filmed before any action had
taken place in the area. The second video shows some Policemen moving
from the line at Bolivia Street Southward on Ponce de Leon Avenue. On the
third and fourth video clips show when the Teacher's march coming from
Chardon street arrives at Mufioz Rivera Avenue and continue to march in the
direction of Roosevelt Avenue where the platform was located at. The last
video shot shows people gathered in front of the Seaborne building and the
stretch of road towards Roosevelt Avenue. The eleven photographs depict
two unidentified persons which are located in the upper levels of a building.

e DVD#11. This DVD contains three (3) video clips. These recordings were
filmed from the same location of PRPB DVD#10. In one of the segments the
line of policemen that blocked Ponce de Leon Avenue, near Bolivia St. is
observed.

e DVD#12. This DVD contains two (2) video clips. These recordings were
taken from the same location DVDs #10 and 11. The action was filmed from
a location behind line of policemen at the intersection with Bolivia Street
before and after the chemicals were used against the protesters. The last
segment shows the protesters using Mexico St. as an escape route.

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FINDINGS:

The events took place on May 1, 2018 are fully analyzed in the Executive Summary
fon pages 8 through 23 of this report. Specific accounts of the six (6) marches
covered in this Assessment, as reported by eyewitnesses and designated
observers, including the various incidents at Ponce de Leon Avenue, have been
covered along with Police videos and written reports provided pursuant to the Order
of the United States District Court. The videos included in this Assessment were
obtained from different sources for purposes of total transparency.

e During the course of preparing this Assessment high-ranking officers of the PRPB

were asked several questions on whether dispersal orders, which are mandatory,
were issued at the several instances where chemical agents are used. There are
two specific instances where there was a known need to provide dispersal order
through the Police loudspeakers. The first instance took place at the location right
in front of the Liberty Building where the Police had established its first blockade.
The videos examined have audios that confirm that such dispersal orders were
given at that specific location. In view of the fact that no chemical agents were used
at that location and the fact that protesters were allowed to continue their march,
further discussion of compliance at this location in unnecessary. The second
instance is the most relevant for the purposes of this Assessment since chemical
agents were deployed against the protesters. Assorted answers were provided.
Some of Police Officers stated that dispersal orders were given before using
chemical agents against the protesters, others alleged they couldn’t hear them, and
others admitted that the orders were not given. The Police Officers claiming that
the orders were given alleged that the sound equipment they used was so weak
that it could not overpower the noise of the manifestation and protester’s
loudspeakers that caused the orders could not be heard. A known fact is that when,
more than two (2) hours before, these orders were given at the Liberty building
area, they were recorded loud and clear in the TV reporters’ videos. When
confronted with this fact, Officers alleged that the equipment they used at the
second location, near Bolivia Street, was different and of much lower quality. The
prevaient fact is that several video recordings were reviewed and in none of them
the orders are heard, not even a noise that could resemble said order to create a
doubt about it. Hence the evidence extensively examined for the purpose of this
Assessment reasonably reflects that the Dispersal Orders were not given to the
protesters before using chemical agents against them at the location of Ponce de
Leon Avenue close to the intersection with Bolivia Street all in violation of Section
625 of the General Order. It is further submitted that the high-ranking staff of the
PRPB admitted that the PRPB did not place an agent behind the protesters to listen
to and record the dispersal orders as mandated by Section 625 in General Order

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600. Notwithstanding the above determination, the videos of the specific incident
graphically show that once the protesters were urged/ordered to clash against the
police line using their shields and sticks, aided by a multiplicity of small marble balls
hurled at the policemen using slingshots, a quick reaction was needed to repeal
that violent and arguably life-threatening attack by a using gas to discourage further
aggression.

e The PRPB pushed the protesters away from the Milla de Oro, Southbound on
Mufioz Rivera Avenue, to Rio Piedras. The Police explained that the protesters,
while retreating, were vandalizing property, scribbling graffiti on the walls of
buildings setting assorted objects on fire in the streets, acts of defiance in violation
of the law. The action of the protesters, as observed in the videos, had the expected
direct consequence that the Police would follow and attempt to arrest those
responsible for the illegal deportment. Police Officers interviewed cited article three
(3) of Law 53, and also article 201 of the DSP Law 20 (Ley 20), as their authority to
follow the protesters while they were committing crimes in order to arrest them. It
should be noted that the authority to arrest a person committing an offense in the
presence of a police officer comes from Rule 11(a), (b) and (c) of the Rules of
Criminal Procedure of the Commonwealth of Puerto Rico.

e The video recordings and photographs reviewed by IC Pujol revealed at least three
clear instances in which excessive use of force was employed, which are covered
in the Executive Summary part of this report. See Abuse of Force Section, pages
14 to 18.

e The PRPB provided copy of a PPR-920, REGISTRO DE MOVILIZACIONES DE
LAS DIVISIONES DE TACTICAS ESPECIALIZADAS (Spanish for “REGISTRY OF
MOBILIZATIONS OF THE DIVISIONS OF SPECIALIZED TACTICS” dated
05/01/2018 and signed by PRPB Agent #1. The report explains about the existence
of several protests on May 1%, 2018, the majority ending in the Mufioz Rivera
Avenue and one in the Capitol building. The report explains about the use of
different types of force and chemical agents. The report provides a very, extremely
short explanation of the actions taken by the SWAT teams during the day’s
operation. Any lay person or law enforcement person reading this report cannot
grasp an idea of what the SWAT and Special Arrest units did that day. It falls really
very, extremely short, in providing information. The PRPB failed in providing a
detail account, in this report, of the actions taken by the SWAT Teams and Special
Arrest Units during the day’s operation.

e The PRPB provided copy of a PPR-920 A, REGISTRO DE MOVILIZACIONES DE
LAS DIVISIONES DE TACTICAS ESPECIALIZADAS DTE (Spanish for
“REGISTRY OF MOBILIZATIONS OF THE DIVISIONS OF SPECIALIZED

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TACTICS DTE” dated 05/01/2018 and signed by PRPB Officer #10. This report
pertains to one of the DOT teams that were working that day. The PRPB failed by
not preparing, or by not providing, a report for each of the DOT teams that worked
that day, for example: the team led by PRPB Officer #37, PRPB Officer #31, PRPB
Officer #32. The Report prepared by PRPB Officer #10 does not provide a
complete explanation of what the other teams did that day, they are only referenced
when they interacted with his team. The Report fails by not reporting the number
of Uses of Force and the number of Arrestees, when it admits that Use of Force
was used, and Arrests were made. The report states that before the Operation the
personnel were oriented on Sections 601 and 605 of the General Order (GO), but
they failed to provide orientation on Sections 620 and 625 of the GO.

e The PRPB provided copy of a PPR-174 form prepared by PRPB Officer #1 dated
May 2, 2018. In the form the Officer stated that “they advised the protesters not
less than five times about the possibility of using chemical agents against them,
should they continue with their aggressive acts”. Not even one of these alleged
advises could be corroborated by watching many recordings of the events
and interviewing many witnesses. Personnel of the TCA Office was located
behind the lines of Police Officers and no one of them heard any loudspeaker
providing any of these alleged advises. By no means these advices had been
corroborated and it is believed that they failed to provide the required dispersal
orders and instructions mandated by Section 625 of the general Order.

e IC Jose Pujol requested from the PRPB a list of all members of the PRPB present
during the events of May 15, 2018, and information of all trainings taken by these
Officers/Agents. The PRPB produced many groups of documents in response to
this request. Reviewing these documents IC Pujol verified that the PRPB provided
the requested information about the trainings taken by approximately two-hundred-
eighty-seven (287) Officers/Agents. This number falls very short from the one
thousand two hundred twenty-five (1,225) members of the PRPB utilized during the
operation, according the PPR-174 form signed by PRPB Officer #1. The PRPB
grossly failed in providing the requested information.

e The PRPB handed over a document titled “Lista de Personas Arrestadas y Dafios a
la Propiedad en manifestacion de 1ro. de mayo de 2018” (Spanish for “List of
Arrested Persons and Damages to Properties during Manifestation of May 15, 2018”).
In this document they listed the names of nineteen (19) persons arrested and the
offenses charged. The PRPB only provided documents related to the arrest and

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related post arrest procedures of only ten (10) of the arrestees. The PRPB didn’t
provide any documents related to the arrest of:

Arrestee #1

Arrestee #8

Arrestee #13
Arrestee #14
Arrestee #15
Arrestee #16
Arrestee #17
Arrestee #18
Arrestee #19

e IC Pujol found a definite inconsistency between the information provided by PRPB
Officer #12 and the requirements of Section 620 of the General Order. Regarding
the use of force related to firing rubber pellet ammunition, PRPB Officer #12 was
asked if the PRPB is authorized to shoot this type of ammunition directly against a
person. He answered that if the person is located six (6) feet away or less, they
have to shoot to the ground for the pellets to ricochet and hit the person, but if the
person is located six (6) feet or further than that, they are authorized to shoot
directly against the person. He stated that this explained difference on how to
shoot this type of ammunition is covered and regulated under Section 620 of the
General Order. IC Pujol reviewed Section 620 of the General Order and found no
reference to the information provided by PRPB Officer #12.

e PRPB Agents followed protesters that were observed committing assorted
offenses, including persons that allegedly assaulted policemen while being
intervened, to a location known as Santa Rita. A video examined shows an
individual running very fast towards a house and as he passes by, he throws a
liquid substance from a bottle to a Police Officer. He goes past the gate with the
Police after him in a hot pursuit and eventually arresting him. At least two other
individuals were arrested on the street. Many policemen present at the scene were
thrown at objects from behind the gate in the house’s yard. The video images
available to IC Pujol are consistent with the statements provided by the agents
involved in this arrest. No wrongdoing is observed on the part of the agents. It
should be noted that State and Federal jurisprudence permits the arrest of a

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person by police agents in hot pursuit, even in cases where the person trying to
escape enters into a duelling, irrespective of whether it is or is not his home. The
video images do not show the reason why the person arrested was running at a
fast pace towards the house before the throwing the liquid substance to the agent.
The interviewed Police agents explained that this person was being chased by the
agents to arresting him because he had assaulted a Police agent.

e Many discrepancies were found in the number and locations of the Command
Centers, which are covered in the Executive part of this report at page 23.

RECOMMENDATIONS:

1. Use of Force reports allow supervisors and commanders to collect and analyze
essential information about the factual circumstances surrounding a use of force. At the
individual officer level, reliable and accurate information from these reports permits
supervisors to formulate objective conclusions about an officer's conduct. More broadly,
aggregate information on use of force allows agencies to improve policies, training, tactics,
and management. The production of documents by PRPB for the preparation of this
Assessment has uncovered a questionable development regarding PPR Form-854 (Informe
de Uso de Fuerza). Many instances of use of force related to the Worker's Day event were
not prepared in the many instances when they had to be prepared. The preparation of this
form is required for each individual use of force by a PRPD officer/agent. General Order
Chapter 600, Sections 603, 604, 605, 620 and 625 clearly establish the requirement as
mandatory. The PRPB, starting from the Commissioner and going down to line agents, must
understand the importance of complying with the preparation of Form 584. Failure to prepare
a use of force form (Form 584) when there was actually a use of force, breeds suspicion.
Repeated instances of failure to prepare Form 584 in this case, where excessive use of force
has been amply discussed, lingers in the realm of a pattern of non-compliance.

2. The PRPB must ensure that all arrests are fully documented. All circumstances
pertinent to the arrest must be documented. Where it happened, when it happened, reason
for the arrest, possible violations, name and complete information of the person(s) arrested,
information regarding the arrestee’s release or his/her transfer to a holding cell, inventory of
items seized from the arrestee, referral for prosecution, etc....

3. Most of the Operational Plans were deficient by failing to provide all the information

required by the General Order. In the Section of Operational Plans in this Assessment, other
general recommendations were previously provided.

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4. Written reports recording the events that took place during crowd control events must
improve, mainly by establishing a clear-cut timeline of the events that are reported and
providing all possible pertinent details about any incident that transpired during the operation.
Not all reviewed reports failed in this area but some of them failed to comply with the essential
requisites. More emphasis should be given to the importance of properly reporting all
incidents and events, and the preparation of a timeline that mirrors every phase of the
incident.

5. The PRPB did not give the dispersal orders via loudspeakers before deploying
chemical agents, as mandated by Section 625. The intent of a dispersal order is to
permanently disperse a crowd, not to merely relocate the problem. It should be made clear
in the dispersal order that the crowd is expected to immediately leave the area and include
a warning that force may be used which may inflict significant pain or result in serious injury.
In the case of Deorle v. Rutherford, 272 F.3d 1272, 1284 (9th Cir. 2001), it was established
that warnings should be given, when feasible, if the use of force may inflict significant pain
or result in serious injury. Deploying the chemical agents without proper dispersal orders is
denying the crowd the choice of whether to disperse in order to avoid pain or even an injury
or remain in place to face the consequences.

6. The PRPB must ensure that the use of force is limited to situations where it is
necessary as the General Order establishes. It cannot be used in scenarios like the ones
reported in this Assessment report in which an individual was presenting only a passive
resistance (female individual that was heavily sprayed with pepper spray by SWAT), or
complete compliance (the reporter of the Metro newspaper that was hit with a baton.)

7. The PRPB raises again the concern that placing a PRPB agent within the crowd to
hear and record the dispersal orders represents an imminent risk to the agent’s safety. This
requirement is considered a “best practice” in many jurisdictions in the United States. IC
Jose Pujol understands the PRPB’s concern and recommends to the PRPB to properly
submit this issue to the Reform Unit, the TCA, the USDOJ and PRDOJ for further discussion
and analysis. A workable recommendation for the PRPB is to find and submit an alternative
method by which to record the dispersal orders without placing an agent in a risky position.

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Section V: Review of the Self-Assessment Conducted
by the PRPB

V.A Review of After-Action Reports (AARs)

The After-Action Report provided by the PRPB reflects that the same only consists of the
Minutes of a meeting of the high-ranking Officers involved in the May 1, 2018 Operation. In
the aforementioned Minutes, each Officer made a general comment about how the
Operation went in their assigned area. The report ends being the proverbial pat on the back
of each other, praising their performance during the Operation. The Incident Commander
stated in this report the Operation had seven (7) strengths and three (3) weaknesses as it
was recognized during the meeting. This After-Action Report lacks the substance and
completeness of what a report of this type should be.

In support of the above conclusion regarding the After-Action Report submitted by the
PRPB, the material submitted is a summary of what are the areas covered by an After-
Action Report following best practices. The same should also be considered as a model to
follow in future reports:

An After-Action Report must provide the chain of command with a synopsis of a
critical incident or major event.

An After-Action Report Must Address Specific Items:

- Situation, a synopsis of information and drivers or the genus of the Incident Action
Plan or response. The situation includes environmental and inclement conditions,
issues, hazards, other organizations (resources) already involved, and efforts
underway. This section should also include the length of event/incident (total number
of hours, days, and/or operational periods).

- Assumptions, which are based on historical data such as past events/incidents,
topography, storm water runoff, or group dynamics (behaviors). Assumptions include
past practices and intelligence information impacting planning and response.

-The objectives carried forward to the After-Action Report are overall goals of the
event/response. The objectives address the sustained police presence or unified
command response.

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- Response, an accounting of the actions taken to address the situations and
objectives. It is the body of the report and responds to the objectives.

- De-Escalation. If force was employed during or as part of the incident, it shall be
discussed whether de-escalation strategies or tactics were considered and, if so,
what those tactics were.

- Best practices, which respond to the questions of effectiveness of information
gathering, planning, and strategies/tactics. This includes discussion of what worked
well towards achieving objectives and resource (staffing and materials) utilization. It
also addresses tactics, techniques, and efforts likely to yield success for similar
events/incidents.

- Gaps in response/capabilities. Gaps address shortcomings in the available
response. Lacking technical assistance, resources, and information is addressed in
this area. Available skills and the need for training in particular issues/tools may also
be addressed under this heading.

- Notes forward are recommendations for follow-up training, policy review (or
modification), and considerations for similar events. It is also where organization(s)
point(s) of contact for future events, nuances and information to support future
planning/response or to mitigate future issues/hazards are recorded. For example,
“the EPA should be consulted as a partner for similar incidents.”

- Contingencies, the incidents within the event/incident. Contingencies are issues
which alter or detract for the incident response. These are the issues that siphon
resources or must be addressed in the context of the event (e.g. the onslaught of
hazardous or adverse conditions, responder injuries, etc.)

- Mitigation, the course of action necessary to suspend contingencies and return to
incident response. Mitigation may not fully resolve the issues but allows the incident

response to continue.

- Recovery, the course of action undertaken to return to normal condition or
state. Post event/incident actions may include engaging the media in order to alert
the community that status quo has been established.

- Financial impact (materials/staffing). Events and incidents have inherent fiscal
costs. Containment and documentation of cost should not trump safety in
planning. However, fiscal responsibility is an operating contingency. Indicate cost of

expenditures and staffing.
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V.B Review of Use of Force reports and Complaints

On July 30, 2018 IC Pujol visited the PRPB Headquarters, more specifically the FIU (Use
of Force Investigations Division), to review all Use of Force forms prepared in relation to
the May 1, 2018 Worker's Day event and all Complaints received by the PRPB. Second
(2) Lieutenant Javier Santiago Feliciano, FIU’s Director, provided four (4) PPR Form-
854 to IC Pujol. IC Pujol asked if these were the only Use of Force forms prepared in
relation to the events of May 1', 2018. Lt. Santos Feliciano responded in the affirmative.
After IC Pujol reviewed the alluded forms, Lt. Santos Feliciano was again asked if those
were the only “Use of Force” forms prepared for that event and he again answered that
these were the only forms, but in the event that any additional PPR-854 would surface,
he would communicate it to IC Pujol through the Reform Unit. As of this date, the date of
closure of this Report, IC Pujol has not received any further information from Lt. Santiago
or the Reform Unit regarding the appearance of any other PPR-854 form.

The review of the four PPR-854 forms provided the following information which is
summarized as follows:

e The first PPR-854 form was prepared by PRPB Officer #24. He reported the arrest
of Arrestee #6. He reported that Arrestee #6 was accompanied by another individual
that was throwing rocks to the Police, but who was able to evade arrest. In order to
arrest Arrestee #6, PRPB Officer #24 informed that they had to take him to the
ground. During the arrest, Arrestee #6 received a trauma in the right side of his face.
The Supervisor concluded that the action was proportional to the resistance of
Arrestee #6, who did not follow verbal commands, presented an active resistance
by pushing the agents and attempted to evade arrest.

e The second PPR-854 form was prepared by PRPB Officer #10. PRPB Officer #10
provides a general synopsis of the involvement of the DOT Division during the
events of May 15, 2018 at the Ponce de Leon Avenue. The information provided by
PRPB Officer #10 matches the information provided by in the interviews of the PRPB
personnel and the images reviewed in the video recordings by IC Pujol. He informed
that PRPB Officer #9 ordered him to remove his DOT squads at the Liberty building
blockage. He also stated that PRPB Officer #9 again ordered him to post his squads
at the second line in the Ponce de Leon Avenue.

This PPR-854 is limited to explain movement of personnel facts that took place
exclusively at the Ponce de Leon Avenue and makes no reference to any particular
incident involving a use of force. It is relevant to point out that the Supervisor that
reviewed this PPR-854 and investigated the facts, PRPB Officer #25, wrote in his

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comments “... At this moment the SWAT Units used CS gas. No evidence was
found during the investigation that any verbal commands were provided”.

e The third PPR-854 was prepared by PRPB Officer #1, the Incident Commander.

PRPB Officer #1 provides a general synopsis of the events of May 1, 2018 at the
Ponce de Leon Avenue, and not for any other site. The information provided by
PRPB Officer #1 matches the information provided in the interviews of the PRPB
personnel and the images reviewed in the video recordings by IC Pujol.
PRPB Officer #1 additionally informed that nineteen (19) individuals were arrested
and sixteen (16) individuals were injured, but he does not provide any detail about
any of the arrests or the events related to the injured personnel. A use of force report
should have been prepared for each of the arrests reported.

e The fourth PPR Form-854 was prepared by PRPB Agent #11. PRPB Agent #11
provides a general synopsis of the SWAT participation during the events of May 1°,
2018 at the Ponce de Leon, Roosevelt and Mufioz Rivera Avenues. The information
provided by PRPB Officer #1 matches the information provided in the interviews of
the PRPB personnel and the images reviewed in the video recordings by IC Pujol.
The report was prepared in a general way without stating the degree of the use of
force employed.

FINDINGS:

e The second, third and fourth PPR-854 forms fail to provide information to any
individual Use of Force made by the PRPB. The limit to inform in a general fashion
that OC gas, pepper spray and batons were used. No individual PPR-854 forms were
prepared for each of the uses of force. Images reviewed in the video recordings
provided show a large number of instances of Use of Force during the May 1, 2018.
This reporting fails to comply with General Order Chapter 600, Section 605,
“Reporting and Investigating Use of Force by Members of the PRPB,” and Section
625 “Crowd management and control’, which establish that each single use of force
has to be reported in a separate PPR Form-854.

e Only the first PPR-854 form informs about one of the arrests. No PPR-854 forms
were prepared for any of the other eighteen (18) arrests.

e None of the four (4) PPR Form-854 provided has any information about the events and
arrests that took place in Santa Rita, Rio Piedras. Interviews with the PRPB personnel
involved in the arrests yielded information that arrests executed at that location and use
of force was employed. None of the four PPR Form-854 presented to IC Pujol had any
type of information regarding those arrests. By reading the four PPR-854 forms provided

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for inspection, no one would know or find out that any of the events reported herein took
place at the location known as Santa Rita. This failure to report is found to be completely
unacceptable.

ADDITIONAL RECOMMENDATIONS:

The Worker's Day event of 2018, regarding the reporting requirements of the Puerto
Rico Police Bureau, impresses as a repeat performance of the year 2017. The failure
to prepare and/or properly prepare PPR Form 854 (Use of Force Report) for each
single/independent instance by each agent engaged in use of force, as required by
General Order, Chapter 600, Sections, 603, 604, 605, 620 and 625 appears to be in
the realm of a voluntary dereliction of duty. Compliance with the cited General Orders
applies to every sworn officer in the Puerto Rico Police Bureau. High ranking officers
are not exempt from compliance. Use of force reports allow supervisors and
commanders to collect and analyze essential information about the factual
circumstances surrounding a use of force. At the individual officer level, reliable and
accurate information from these reports permits supervisors to formulate objective
conclusions about an officer's conduct. More broadly, aggregate information on use of
force allows agencies to improve policies, training, tactics, and management.

As it was recommended in the 2017 Assessment, the PRPB must ensure that all arrests
are fully documented. All circumstances of the arrest must be documented: where it
happened, when it happened, reason for the arrest, possible violations, name and
complete information of the arrestee, information about the arrestee’s release or his/her
transfer to a holding cell, inventory of seized items from the arrestee, referral for
prosecution, etc....

On October 10, 2018, the supervisory four-year term of the Reform will be over, and
the Puerto Rico Police Bureau will enter into the monitoring period of the Sustainable
Reform. From that date on, failure to comply or open derelictions of duty will be met
with stiffer consequences. Full compliance is of the essence for a continued career in
law enforcement at PRPB.

IV.D Arrests and related Judicial procedures.

On a document dated May 17, 2018, PRPB Officer #1 informed that during the
Manifestations of May 15, 2018, nineteen (19) individuals were arrested. The Report
provides the names of the arrestees, the offenses charged and the names of the agents

that performed the arrests.

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A search conducted with the aid of the Judicial system revealed that up to this date, only
eight (8) of the arrestees have been charged with the commission of a criminal offense.

Out of the eight (8) arrestees:

e One (1) of them was cleared of the charges by a Judge, who found “No Cause”
against him in a Rule 6 hearing. No appeal has been filed by the Department of
Justice.

e The other seven (7) arrestees have hearings scheduled for August 23 and 28,
2018 and September 19 and 20 of 2018.

Section VI: Analysis of Best Practices and Models on
Policing of Mass Demonstrations

The main and most evident recommendation to the PRPB in managing mass
demonstrations is that the PRPB must abide by all the Sections of Chapter 600 of their
General Order. Mainly on Section 625 “Manejo y Control de Multitudes”. This Section
provides the established guidelines to manage mass demonstrations. Full compliance
with these Sections should suffice for a successful management of events involving crowd
control. This Assessment Report has pointed out areas in which the Police has improved
its performance but at the same time many serious deficiencies have surfaced in
important areas which require expedited adjustments to efficiently manage future mass
demonstrations. To initiate the process, PRPB must promptly provide intensive training
on Section 625 to all personnel. Training on Section 625 was highly recommended after
the 2017 Worker's Day event of 2017 and none was provided to anyone. At the time of
the 2018 Worker’s Day Protest, still no one had been trained on Section 625. Proper
training may have precluded many unnecessary incidents although we cannot in any way
get ourselves to believe that training on Section 625 would have done away with
belligerent protesters, insults, improprieties, rock and irritating substances throwing,
marbles thrown using slingshots, graffiti and vandalism.

The PRPB must continue to be committed to protecting free speech and facilitating
protests regardless of the message being conveyed. The Bureau of Police must also
continue to be committed to protecting the community from civil unrest, disorderly conduct
and vandalism. Going forward, the competing goals of maintaining order while protecting
the freedoms of speech and assembly stands as one of the PRPB’s greatest challenges.
This challenge MUST be addressed by completely adhering to departmental policy in the

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form of General Orders crafted pursuant to the Agreement for the Sustainable Reform of
the Police of Puerto Rico.

Signed at San Juan, PR on November 5, 2018.

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/ /

José L. Pujol

 

investigations Consultant
OFFICE OF THE TECHNICAL COMPLIANCE ADVISOR

268 Mufioz Rivera, Suite 1001
San Juan, PR 00918

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